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                           Exhibit 2
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA


 IN RE: HYUNDAI KIA THEFT
 MARKETING, SALES PRACTICES AND           Consolidated Case No. 8:22-ML-3052
 PRODUCTS LIABILITY LITIGATION                                    JVS(KESx):




   DECLARATION OF EDWARD M. STOCKTON IN SUPPORT OF PLAINTIFFS’
           MOTION FOR CLASS ACTION SETTLEMENT APPROVAL
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1. INTRODUCTION AND SUMMARY OF FINDINGS

1.       I am the Vice President and Director of Economics Services of The Fontana Group, Inc.

(“Fontana”), a consulting firm located at 3509 North Campbell Avenue, Tucson, Arizona 85719.

I serve on the Board of Directors of Fontana and its parent company, Mathtech, Inc. Fontana

provides economic consulting services and expert testimony throughout the United States, Canada,

and other countries. Fontana has extensive experience assessing economic harm to consumers from

alleged product defects and misconduct.

2.       This matter concerns the evaluation of the Proposed Settlement between the Consumer

Class in the above-referenced litigation and “Defendants,” Hyundai/Kia, et al.

3.       Class Counsel requested that I review the Settlement Agreement dated July 20, 2023, and

apply my expertise in economics and subject matter expertise in the retail automotive industry to

evaluate the both the original Proposed Settlement and the Amended Proposed Settlement,

independently and in consideration of the Court’s August 16, 2023, Order Regarding Motion for

Preliminary Settlement Approval and Class Certification (the “Court’s Order,” Dkt. No. 200), and

the manner in which changes to the original Proposed Settlement terms would affect Class

Members’ eligible claim amounts and the sufficiency of their outcomes.

4.       Regarding the second task, two proposed changes to the Proposed Settlement terms are

relevant to my analysis. The first change modifies the cap on Total Loss claims from $6,125 to a

factor equal to 60% of the Class Vehicle’s Black Book value.1 The second change is to replace

$3,375 the cap on Partial Loss claims with a cap equal to the greater of $3,375 or 33% of the Class

Vehicle’s Black Book value.




1
  As discussed in more detail in the Body of this Declaration, I evaluate the settlement using JD Power data, which,
like Black Book, is a recognized and reliable source of used vehicle market values.


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5.     Because the proposed changes discussed immediately above are not particularly

complicated, I describe briefly the potential effects of the changes. First, both changes (to Total

Loss and Partial Loss caps) are responsive to the Court’s order to tie available compensation

amounts to vehicle value—they do so directly. With respect to the change to the Total Loss

compensation cap, a variable cap tied to vehicle value sets maximum eligible compensation to

$5,625 (or actual costs if less than $5,625)for vehicles with values equal to or less than $9,375

($5,625 is 60% of $9,375), which is lower than the original Proposed Settlement, and to $5,625 or

higher for vehicles with values equal to or greater than $9,375. The modification to the Partial

Loss cap can only result in payments as high or higher than those that would have existed under

the original Proposed Settlement, with higher eligible payments available to claimants with higher-

value vehicles.

6.     Recognizing that Class Vehicles differ in value, the Court’s Order directed the Parties to

consider the vehicle’s value in fashioning a reimbursement program under the Proposed Settlement

so that those suffering a greater monetary loss recover more. See Court’s Order at 29 (“[S]ome

Class Members’ vehicles could be worth substantially more than others, therefore suffering a

greater monetary loss.”). In consideration of the Court’s Order, I identify the manner in which

reasonably anticipated losses by Class Members relate to vehicle value, as well as elements of loss

that tend to be less sensitive to vehicle value. Additionally, I consider whether a significant

majority of claimants would be likely to receive settlement compensation in amounts that are at

least 60% of their monetary losses under the original and proposed payment caps (understanding

that Class Counsel targeted a 60% risk-adjusted recovery).

7.     As set forth in the body of this Declaration, I find that the original terms of the Proposed

Settlement would be responsive to both monetary losses generally, i.e., Class Members with larger




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losses would receive more compensation than those with lower losses, and monetary losses that

relate to vehicle value. Furthermore, it is reasonable to expect that the large majority of claimants

would receive compensation in line with or exceeding the benchmark of 60% of their monetary

losses, which is the amount that follows from the 40% litigation risk discount that drove Class

Counsel’s decision-making.

8.     Under the proposed Amended Settlement Total Loss and Partial loss payment caps,

available compensation to Class Members would depend directly upon vehicle value. I expect the

large majority of claimants, under the revised payment caps, to receive compensation in line with

or exceeding the benchmark of 60% of their monetary losses, with some exceptions.

9.     The Court’s Order at page 24 directed the parties to “fashion a matrix for reimbursement

that aligns with each Class Member’s vehicle’s estimated value, rather than taking an average of

all vehicles and reducing it by 40%.” This approach is similar to what was employed in the

settlement in In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and

Products Liability Litigation, C.D. Cal. Case No. 8:10-ml-02151, Dkt. No. 3556 at 15-18. The

matrix in Toyota was developed by Fontana, whom (like here) Class Counsel retained in that case.

I understand that the Toyota matrix was used to estimate grouped diminished value base amounts

for calculating payments by model, model year, and month of sale. Based on those factors (model,

model year, month of sale), claimants were eligible to receive the corresponding diminished value

amount that applied to their vehicle and sale month characteristics. It is my understanding that

(unlike here) the Toyota payment matrix served to establish compensation levels and that the

settlement did not require claimants to establish individualized actual economic losses during the

claims process. Here, while a matrix is useful a) to demonstrate how proposed settlement

payments relate to vehicle value, and b) to assist the court in evaluating likely loss levels and




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payment amounts, a matrix like that in Toyota would not be needed here to determine settlement

payments for damage to a Class Vehicle or damaged or lost personal property due to a qualifying

event when the vehicle is not a Total Loss. This is because the Class Member is required to submit

evidence of the actual out-of-pocket losses incurred. However, in the instance of a Total Loss, a

table may be useful for the settlement administrator to reference in estimating clean retail values

on replacement vehicle purchases of the Class Vehicle models identified in the claim form, as

discussed further below, and I understand that the parties have agreed to utilize such a table.

10.    The original Proposed Settlement provided up to $6,125 for consumers who suffered

qualified events resulting in an unremedied theft or total losses of their Class Vehicles, and $3,375

for consumers who suffered qualified events but whose Class Vehicles were recovered and/or not

declared total losses. Additional compensation is available for other incidental expenses incurred

in connection with qualified events. I understand that the figures cited above account for a 40%

discount for litigation risk and, therefore, imply gross (pre-litigation risk) loss of $10,208 and

$5,625, respectively.

11.    While Class Vehicles vary in age, current value, or original value, the $6,125 loss figure

would fully compensate substantially all prospective insured claimants for lost value and

reasonably anticipated associated costs in the event of a total loss, including ancillary economic

costs associated with replacing the vehicle. Additionally, claims related to over 90% of Class

Vehicle trim levels (make, model, model year, vehicle feature packages, etc.), would likely be

eligible for full compensation for the costs identified. Under the revised payment caps, I would

expect similar outcomes, with a few possible exceptions. For the very uncommon lowest-value

vehicles, e.g., $2,500, a payment based on vehicle value may not provide full compensation for

monetary losses for insured Class Members, but this is extremely unlikely to occur given that Class




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Members with cars valued at $2,500 very likely do not have collision or theft insurance. For

insured claimants with Total Loss events, full compensation would be likely because of the effect

of the higher vehicle values (e.g., $30,000+) on eligible payment amounts.

12.    Under both the original Settlement Agreement terms and the proposed modified payment

caps in the Amended Settlement, the relationship between available compensation and potential

harm suffered by uninsured claimants following Total Loss events is more complicated and

sensitive to variation in vehicle values. Whereas insured claimants who experience total loss events

pay deductibles and face real consequential economic costs associated with vehicle replacement,

including additional transaction costs in some cases, uninsured claimants—because they do not

have insurance (or theft and collision coverage)—tend to suffer systematically more unmitigated

losses in relation to loss of stolen vehicles, or deterioration of a drivable vehicle to salvage status

from a collision or other significant vehicle damage. Under the original payment caps, uninsured

class members owning Class Vehicles other than the least expensive trim levels who experience

Total Losses (with or without vehicle recovery), have exposure that generally exceeds the

compensation caps available under the original settlement agreement.

13.    Under the revised payment caps, value-based payment eligibility changes that exposure

somewhat. Uninsured Class Members with lower value vehicles are more likely to fall below the

60% benchmark compensation level, while uninsured Class members with higher value vehicles

have significantly reduced exposure to uncompensated losses, because payments can exceed

$5,625 for Total Loss events when vehicles exceed $9,375 in value.

14.    The same relative dynamics (compensation versus losses), although to a lesser extent, are

also true for Class Member claims for partial loss vehicles under the original settlement terms.

Based on average insurance claim amounts for vehicle damage of approximately $5,010, a typical




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insured claimant would experience approximately $1,000 in losses, including the cost of the

deductible. The original risk-adjusted $3,375 cap would cover these losses and likely would cover

much larger losses from much larger collision repairs (e.g., repair cost of $15,000). For uninsured

Class Members, the $5,625 pre-risk estimated loss is larger than the average collision damage

payment, so a payment of $3,375 may not fully compensate all incidental costs or larger damage

repair costs.

15.     The revised compensation caps can only improve (or have neutral effect on) outcomes for

Class Members who experience Partial Loss events. The most likely beneficiaries of the higher of

compensation caps for Partial Loss events are uninsured Class members who own relatively

higher-value vehicles. By way of example, an owner of a vehicle worth $12,000 would be eligible

for up to $3,960 in compensation, rather than $3,375, providing at least 60% compensation for

losses up to $6,667.

16.     Noting differences between settlement outcomes for insured and uninsured Class

Members, it is helpful to consider an initial concept. The propensity of Class Members to

experience large monetary losses and not have insurance to mitigate those losses is a function of

the general tendency of drivers to carry collision/comprehensive insurance. While uninsured Class

Members can be exposed to substantial economic losses simply because they do not have insurance

that offsets costs, it is reasonable to expect that, in practice, this additional exposure of uninsureds

to higher costs is infrequent. There are several reasons why this is the case. First, I estimate that

fewer than 25% of the Class Members were either not insured or had insurance without theft and

collision coverage.2 Second, and as discussed further below, Class Members who were uninsured


2
  According to Forbes, 79% of insurance policies have liability insurance and 75% of policies have collision
insurance. [https://www.forbes.com/advisor/car-insurance/car-insurance-facts-and-statistics/]. The tendency of
vehicle owners to carry collision and comprehensive insurance coverage is rationally a function of vehicle age and
value. Not only do risk averse consumers tend to place higher value on avoiding the possibility of sudden loss of


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 at the time of their qualifying events are unlikely to have losses from a qualifying event exceeding

 $10,000, because those who are uninsured generally have relatively low-value vehicles.

 17.      Based on the findings summarized above, it is my expectation that few claims by insured

 class members will reach the caps set forth in the original Proposed Settlement. While I would

 expect many claims filed by uninsured class members would be eligible for less compensation

 than the corresponding harm from the qualifying event, it is likely that the relative number of

 claims by uninsured class members will be lower. Relatedly, while claims by uninsured class

 members are likely to be larger than otherwise similar (Total Loss/Partial Loss) claims filed by

 insured class members, the frequency of relatively large claims by uninsured Class Members is

 likely to have small to moderate impact upon the aggregate settlement pool, given the likelihood

 that Class Members with higher-value vehicles (those with the highest potential claims) are more

 likely to have collision/comprehensive insurance.3 In any case, the proposed value-based payment

 caps provide additional protection and compensation for uninsured Class Members, who by virtue

 of owning higher-value vehicles, have exposure to the largest magnitude losses.




 vehicle value through an accident or theft, lending institutions require that borrowers with active loans carry
 collision and comprehensive coverage. Consumer Reports recommends that drivers consider dropping collisions and
 comprehensive coverage when premium costs exceed 10% of vehicle value
 [https://www.consumerreports.org/cro/2013/05/4-big-insurance-mistakes-to-avoid/index.htm], this consideration
 does not become relevant unless no financial institution has a lien on the vehicle. Further, while Class Vehicles
 range in age from nearly new in 2022 to approximately 11 years old (2011 model year vehicles), the average vehicle
 on the road is approximately 11 years old. [https://www.experian.com/blogs/insights/2021/06/average-vehicle-age-
 myth/]] (reporting that the average vehicle of the 25 most recent model years is 10.7 years old). This means that the
 oldest Class Vehicles are approximately the same age as the average vehicle, i.e., half of vehicles on the road are
 older than the oldest Class Vehicle. This makes it reasonable to assume that Class Vehicles are more likely to carry
 these insurance coverages than the fleet of all active U.S. vehicles as a whole.

 3
  I do not see an efficient method for a class-wide settlement to address outlier behavioral claims, such as a claim by
 an owner of a very expensive vehicle who inadvertently allowed insurance coverage to lapse just before the
 occurrence of a qualifying event.


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 2. QUALIFICATIONS

 18.     My curriculum vitae, which describes my education, experience, relevant assignments, and

 publications within the last ten years, is attached as Tab 1 to this Declaration. I have a bachelor’s

 degree in economics from Western Michigan University. I have a master’s degree from the

 Department of Agricultural and Resource Economics at the University of Arizona. The

 concentration of this program was applied econometrics. I began my employment at Fontana in

 the Fall of 1998. My first position was as an analyst. Subsequent positions included Senior Analyst,

 Senior Financial Analyst, Case Manager, Director of Economics Services, and Vice President. I

 serve on the Board of Directors for both Fontana and Mathtech, Inc., which is a Washington, DC

 and Princeton, NJ-area consulting company and Fontana’s parent company.

 19.     My experience, and that of Fontana, are suited to the subject matter of this action. I have

 consulted on economic questions across many industries, conducted rigorous data review, and

 managed and analyzed broad data sets on a variety of complex matters. These engagements include

 many dozen matters related to the evaluation of economic harm in the retail automotive industry,

 retail automotive and insurance matters in which I assess costs to consumers of the replacement of

 incumbent vehicles, and broad and complex evaluation and application of settlement proceeds in

 large class-action matters. Specific examples include serving as the expert for seven classes of

 consumers in the Volkswagen Diesel Emissions matters in the United States and Canada, where

 several courts cited to my analysis of vehicle replacement costs in decisions supporting approval

 of class-wide settlements, development of economic loss models and the distribution of settlement

 proceeds in the Toyota Unintended Acceleration matters, and engagement in the insurance industry

 relating to total loss coverage, and specifically, costs of vehicle replacement.4 Additionally, I


 4
  In re: Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation, MDL No. 2672
 CRB (JSC). In re: Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation, Case


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 served as the expert for the class of consumers who potentially suffered credit injury in connection

 with the Wells Fargo unauthorized accounts litigation. In that matter, my colleagues and I

 developed a model of damage payments based upon a matrix of historical borrowing tiers, impact

 on FICO scores, loan amount and type, and other consumer-specific characteristics. The court cited

 to this model in approving the class action settlement.5 Following the court’s approval of the

 damage model, I gathered and managed extensive and diverse data in order to execute the damage

 calculations.


 3. STRUCTURE OF DECLARATION

 20.     Herein, I describe the type of harm experienced by affected class members, outline the

 categories of compensation set forth by Plaintiffs and summarized in Class Counsel’s Joint

 Declaration in Support of the Class Action Settlement, and then assess the alignment of the

 proposed settlement categories with the types of harm experienced by various class members.

 21.     Through this structure, I endeavor to develop this Declaration in a manner that is responsive

 to the Court’s Order. Inherently, the process of evaluating prospective out-of-pocket harm

 experienced by class members requires that I develop a schedule that compares the amount of

 compensation to the amount of harm. The nature of the Settlement Agreement, in practice, also

 contributes to the development of this schedule. Specifically, the Settlement Agreement requires

 that claimants provide some level of documentation to substantiate their claims, meaning that at

 the time of claims filing, Class Members will seek specific levels of compensation. If claims



 No. 3:15-md-02672-CRB (N.D. Cal.), Dkt. 2101. Option Consommateurs et Francois Grondin c. Volkswagen
 Group Canada Inc et al., Province De Québec District De Montréal Cour Supérieure No: 500-06-000761-151.
 Matthew Robert Quenneville, et al. v. Volkswagen Group Canada, Inc., et al., Ontario Superior Court of Justice
 Court File No.: CV-15-537029-00CP Judith Anne Beckett v. Porsche Cars Canada Ltd., et al. Ontario Superior
 Court of Justice Court File No.: CV-15-543402-00CP.
 5
   Shahriar Jabbari and Kaylee Heffelfinger, on Behalf of Themselves and All Others Similarly Situated V. Wells
 Fargo & Company and Wells Fargo Bank, N.A., Case No. 15-cv-02159-vc p. 7.


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 amounts fall within established caps, compensation amounts will equal out-of-pocket costs. As set

 forth in the exhibits to this declaration, I organize estimates of prospective harm amounts by

 vehicle value, which I define as a vehicle’s average resale value during 2021 and 2022 tailored to

 make, model, model year, trim level.

 22.      I note three relevant analytical parameters and/or assumptions prior to describing my

 findings.

 23.      First, while Class Counsel sets forth specific pairings of types of harm and eligible

 compensation, my analysis of economic harm is largely independent. In other words, I describe

 economic harm, unless specifically noted otherwise, in the manner that I would have assessed it if

 unaware of the compensation elements of the Proposed Settlement Agreement.

 24.      Second, I understand the type of harm at issue here to be consequential, that is, harm

 experienced because of qualifying events related to the alleged Defect. This type of experiential

 harm is not generally the same as that which might be considered within a diminished value or

 benefit of the bargain framework, or other ex ante overpayment analysis, or with respect to some

 violation of statutory or contractual provisions between an insurance carrier and insureds.

 25.      Third, my analysis emphasizes consideration of the relative amounts of harm and available

 compensation across the varying constituents covered by the settlement. As set forth in the body

 of this declaration, the balance between potential harm and compensation varies in relation to the

 value of the vehicle at the time of the event. Even more so, potential consequential harm to given

 Class Members also is dependent upon whether the Class Member is insured at the time of the

 event.

             §4 describes the nature of the case and the type of harm I consider to be relevant.

             §5 discusses the scenarios under which I estimate potential economic harm.




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             §6 includes qualitative analysis of economic concepts relevant to the quantum of harm

              experienced by any given Class Member.

             §7 quantifies economic harm/consequential costs under various scenarios.

             §8 summarizes empirical findings and recommendations.

             §9 describes the data and documents that underlie my opinions.

             §10 describes the limitations on use of this Declaration.


 4. NATURE OF CASE AND TYPES OF POTENTIAL HARM CONSIDERED

 26.      I consider several categories of potential harm suffered by Class Members who have

 experienced qualifying events. Each category of harm discussed below represents a tangible, out-

 of-pocket cost. Furthermore, out-of-pocket costs are those that flow from qualifying events,

 including theft and/or vehicle loss/damage.

       A) Direct Vehicle Replacement Costs are acquisition prices for replacement vehicles. I

          estimate replacement costs for a given Class Vehicle based upon the contemporaneous

          retail price of a vehicle of the same make, model, model year, and trim level. Because I do

          not know the dates of qualifying events, I reasonably assume that these costs are based

          upon the average costs that prevailed during 2021 and 2022.

       B) Ancillary Vehicle Replacement Costs are typical costs associated with retail vehicle

          purchases. These costs include sales tax, documentary fees, and other local taxes.

       C) Probability-Adjusted Ancillary Vehicle Replacement Costs are the typical costs described

          immediately above, adjusted for the probability that a buyer acquiring a vehicle of a given

          age would incur them. The relevant difference versus the prior category is the adjustment

          to consider the probabilities that (a) a purchaser of a given Class Vehicle purchased from

          a dealership and (b) purchases from dealerships are subject to documentary fee charges


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         (whereas purchases from other sellers are not). Under a settlement framework that

         reimburses class members for incurred costs, this additional level of detail considers that

         consumers likely incur differences in Ancillary Vehicle Replacement Costs based upon the

         age of the vehicle being replaced/acquired. While consideration of Probability-Adjusted

         Ancillary Vehicle Replacement costs is relevant in an analytical sense, I note that at the

         time of claim, a Class Member will have either incurred ancillary costs or not.

     D) Insurance Deductible Costs are simply the co-payment obligations of insureds who file

         comprehensive and/or collision damage claims. Multiple public sources confirm that $500

         is the median and modal (most common) deductible amount.6

     E) Repair Costs are the estimated cost to repair a vehicle, following vehicle damage from a

         qualifying event. Generally, I would expect these costs to arise when a Class Member is

         able to recover a stolen vehicle, but the stolen vehicle has damage. Statista reports that the

         average cost (insurance-paid) to repair a damaged vehicle was $5,010 in 2021.7 Although

         I apply this cost estimate in my calculations, the ultimate claim amounts for damage to

         recovered theft vehicles may be lower. For example, ValuePenguin, an analytics firm that

         is a subsidiary of LendingTree.com estimates that about one-third of recovered theft

         vehicles are damaged and have an average of $1,490 in damage upon return.8 However, I

         consider the higher ($5,010) figure to be more reliable to apply in my calculations for two

         reasons. First, it is conservative to do so in the assessment of the adequacy of a settlement.

         Second, I understand that the nature of the subject thefts here is likely to be different from


 6
   See, e.g., https://www.marketwatch.com/guides/insurance-services/what-is-a-car-insurance-deductible/ and
 https://www.caranddriver.com/car-insurance/a35824412/average-car-insurance-deductible.
 7
   https://www.statista.com/statistics/830170/collision-claim-size-for-physical-damage.
 8
   ValuePenguin, One if Five Stolen Vehicles is Recovered, but 30% Are Damaged,” February 26, 2020.
 ValuePenguin conducted independent analysis of external data sources, such as the Uniform Crime Reporting
 Program, to develop its findings.


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           the average pool of vehicle thefts nationally because some minimum level of damage is

           likely to occur in order to steal the Class Vehicles and because many perpetrators may be

           young, unlicensed drivers that take the stolen vehicles on “joy rides” that lead to physical

           damage to the vehicle and/or vandalize the vehicle.

       F) Reclassification to Salvage Vehicle Status occurs when damage to a vehicle is not feasibly

           reparable. This is relevant to claims by uninsured class members. For purposes of this

           declaration, I reasonably assume that a damaged vehicle reclassified to Salvage Vehicle

           Status retains 25% of its prior resale value.9

       G) Increased Insurance Premiums are the higher costs that claimants might pay following

           filing a claim on a Class Vehicle.


 5. HARM/COMPENSATION SCENARIOS

 27.       I consider potential economic harm and eligible compensation under six scenarios, which

 I summarize in Table 1 below. Each coordinate in the table identifies the types of losses to which

 the claimant is exposed under the given scenario.

 Table 1: Loss Scenarios and Relevant Harm Categories

                                             Insured Claimant                   Uninsured Claimant

     Total Loss                              C, D, G                            A, C, F

     Unrecovered Theft Vehicle               C, D, G                            A, C

     Partial Loss                            D, G                               E



 9
   As a general matter, the value of a salvaged vehicle depends upon the location of damage, the vehicle’s condition,
 the vehicle’s age, make, and model, and the degree to which undamaged parts remain saleable. Damagedcars.com
 and Carbrain.com both cite a range of 10-50% of vehicles’ pre-wreck resale values, which aligns with my
 experience in consulting on matters relating to salvage vehicle prices. From my own experience, review of various
 materials from junk vehicle buyers, and my conversations with a noted vehicle auction professional, I understand
 that the baseline value of a salvage vehicle is 25% of its pre-wreck resale value.


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 Note: Total Loss Vehicle Models and Unrecovered Theft Vehicle Models use Probability-Adjusted Ancillary Vehicle
 Replacement Costs.

 28.     In the construction of these scenarios, I adopt the guiding and reasonable assumption that

 Class Members possessing operational vehicles prior to a qualifying event will seek to regain that

 status following the qualifying event either by repairing the car (when not incurring a Total Loss)

 or acquiring a new car in the event of a Total Loss.10 Applying this assumption groups assumed

 costs of mitigating the theft/damage event, such as paying retail prices for vehicles or incurring

 acquisition costs, with direct costs from the event itself, such as the cost to repair a vehicle. I offer

 no opinion as to whether the narrower or broader categories of harm are more appropriate in a

 legal sense.

 Total Loss (Damage) Scenarios:

 29.     In a Total Loss scenario, I evaluate potential harm based upon a benchmark in which the

 Class Member recovers the pre-loss position of owning a vehicle of the same make, model, trim

 level, mileage, and age, and insuring that vehicle with approximately equivalent coverage levels.

 (To the extent that a given Class Member may choose to acquire a newer vehicle or older vehicle,

 this would be a secondary preference outside of the consideration of this declaration.)

 30.     The mechanics of determining vehicle replacement costs under this scenario are the same

 as the mechanics of determining the costs of purchasing a vehicle generally. Consumers buy

 vehicles in the retail market, but when selling vehicles, do so in the resale market, often in the

 trade-in market (selling to a dealership). At a high level, the net costs of acquiring a vehicle equal

 the price paid for the vehicle, plus other costs generally incurred while purchasing a vehicle, less

 any offsets to those costs.



 10
   For insured claimants, likely costs are equivalent for Total Loss (physical damage) events and Total Loss
 (unrecovered theft events).


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 31.      Collision/comprehensive policies generally provide coverage that pays the insured the cost

 of replacing the insured vehicle itself (less the deductible) in the event of a total loss or unrecovered

 theft.11 Here, the offset is substantial—the price of the replacement vehicle itself. Thus, insured

 class members face exposure to Ancillary Vehicle Replacement Costs and insurance-related costs.

 32.      Uninsured class members face much higher exposure. For an uninsured class member

 whose Class Vehicle is deemed a total loss, the value of the salvage vehicle is the only significant

 offset to the overall acquisition cost. A second, relatively small offset comes from the use of the

 salvage vehicle as a trade-in, which reduces the taxable basis of the transaction to the difference

 in value between the vehicle acquired and the trade-in vehicle. Overall exposure of the uninsured

 class member in a total loss scenario includes Direct Vehicle Replacement Costs Less Salvage

 Value, and Ancillary Vehicle Replacement Costs Less Tax Offset.

 33.      A closely related scenario occurs with an uninsured class member whose stolen vehicle is

 unrecovered. Here, the calculation tracks the immediately prior calculations, but the class member

 has no vehicle with which to offset acquisition costs (that is, no salvage value). Overall exposure

 of the uninsured class member in a total loss scenario includes Direct Vehicle Replacement Costs,

 Ancillary Vehicle Replacement Costs, and Economic Costs.

 34.      For anticipated cost amounts in Total Loss scenarios, including Unrecovered Theft Vehicle

 scenarios, I apply calculations that consider Probability-Adjusted ancillary costs. Although the

 name I apply to these costs is somewhat technical, the underlying concepts and calculations are

 not. These cost estimates simply account for the probability that a consumer replacing a given

 Class Vehicle would purchase from a dealership, versus from a private party. Since private party



 11
   I have consulted on many disputes concerning the derivation of the amount payable to total loss insureds. These
 disputes include a failure to pay reasonably anticipated other acquisition costs, such as sales taxes, license fees, and
 documentary fees. In many states, insureds are not reimbursed for sales taxes, license fees, and documentary fees.


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 transactions do not include documentary fees, some net cost offset may occur in practice, even if

 it is reasonably anticipated that most consumers would purchase from dealerships.12 In a very

 simple example, if a consumer buying a vehicle of a certain age is 90% likely to purchase from a

 dealership and pay a documentary fee, I estimate the net cost of vehicle replacement to include

 90% of a documentary fee, not 100%.

 Partial Loss Scenarios

 35.     Under a partial loss scenario, the class member’s vehicle suffers damage but is not

 determined to be a total loss. Here, the insured class members’ policies cover repair costs but do

 require deductible payments. Insurance premiums may also increase.

 36.     For the uninsured class member, the scenario again includes higher cost exposure. The

 class member is responsible for repair of the damage.


 6. ECONOMIC HARM CONCEPTS

 37.     The models presented above likely tend to produce estimates of exposure to economic harm

 that are higher than actual economic harm that many class members incur. As a general rule, I

 consider a vehicle replacement cost benchmark in which a class member acquires necessary funds

 to acquire a comparable vehicle at retail, where the replacement vehicle will step into the shoes,

 of the Class Vehicle that was subject to total loss and/or theft.13 Under some circumstances, real

 economic harm to consumers may be different and will often be lower.

 38.     Class members filing insurance claims in relation to qualified events typically face some

 exposure to increased insurance costs.



 12
    This differs from a benefit of the bargain framework that would likely apply to vehicle replacement scenarios
 stemming from irremediable product defects and likely differs as well from analytical frameworks that determine the
 costs that a typical buyer or the majority of buyers would incur in the course of vehicle replacement.
 13
    This benchmark is consistent with some benefit of the bargain concepts.


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 7. QUANTIFICATION OF ECONOMIC HARM/CONSEQUENTIAL COSTS

 39.      Tabs 2-6 set forth summaries of exposure to economic harm in each of the scenarios set

 forth in Table 1.14 Since there are many different Class Vehicles, and any given Class Vehicles

 could conceivably be subject to a claim under each of the various harm scenarios, I consolidate

 my calculations at the percentile level, showing the expected costs that a claimant might incur

 given the estimated resale value at the time of the qualifying event. Using Tab 2 as an example,

 the row corresponding to the 20th percentile summarizes the expected costs that an insured claimant

 who owned a 2013 Kia Sorrento 4D EX (the vehicle with a resale value ranked in the 20th percentile

 among all Class Vehicles) would incur in a total loss event. While the number of Class Vehicles

 is too large to present efficiently in matrix form like the percentile summaries, the percentile

 summaries are useful for evaluating estimated replacement cost levels for other vehicles. Since

 vehicle replacement costs relate to the retail value of the vehicle (which relates closely to a

 vehicle’s resale value), expected replacement costs for the many individual vehicles that would

 rank between the 20th and 25th percentiles in terms of value would generally be higher than the

 expected replacement costs for the vehicle in the 20th percentile ($1,726) but lower than the

 expected replacement costs for the vehicle in the 25th percentile ($1,807).

 40.      Tabs 3 and 4, which summarize expected costs for uninsured Claimants who have

 experienced Total Loss events (with and without vehicle recovery), display estimated costs for

 claims of Class Members whose vehicles had trade-in values of $10,000 or less. While, as

 explained above, harm from Total Loss events increases for uninsured claimants with higher-value

 vehicles, I expect that a very small percentage of Class Members who owned vehicles worth at




 14
   Since Total Loss scenarios for insured claimants are the same in damage or theft scenarios, a single page sets forth
 estimates for both scenarios.


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 least $10,000 were uninsured. Of note, a trade-in value of $10,000 generally corresponds to the

 25th percentile of Class Vehicle values.15

 41.      Dropping collision/comprehensive coverage requires not just the choice to discard that

 coverage, it also requires the discretion to do so. For a consumer to hold the discretion to drop

 collision/comprehensive coverage, finance liens must be satisfied. In other words, it is not enough

 that a consumer has equity in a vehicle, the vehicle must not secure a loan balance. For vehicles

 worth more than $10,000, a consumer must have accumulated unencumbered equity of at least

 $10,000. Considering that the National Auto Dealers Association reports that over 80% of new

 vehicle purchases are financed,16 and that LendingTree.com reports average loan lengths of over

 67 months for both used and new vehicles,17 consumers would not just need to satisfy loan

 obligations but to do so at a rate at which the vehicle value exceeds $10,000 (and continues to do

 so) after the loan term expires. Lastly, assuming an annual premium of approximately $1,000 for

 collision/comprehensive coverage, $10,000 is the point at which these premiums are

 approximately equal to 10% of the vehicle’s value [see Consumer Reports recommendation in F/N

 2].

 42.      Following the percentile summaries, the exhibits in Tab 7 describe detailed pre-cap

 hypothetical claim examples under various scenarios in which vehicle replacement is necessary,18

 and for vehicles with diverse resale values. The exhibits demonstrate how claims might differ

 across Class Members based upon several variables. For example, a major variable is whether the



 15
    Grouped by make/model/model year/trim.
 16
    https://www.nada.org/nada/issues/issues/vehicle-
 financing#:~:text=Every%20year%2C%20consumers%20purchase%2015,financed%2C%20often%20at%20the%20
 dealership.
 17
    https://www.lendingtree.com/auto/debt-statistics/.
 18
    For partial-loss vehicle scenarios, costs elements are limited (insurance premiums or cost to repair with potential
 increased insurance costs) and do not require significant mathematical calculations.


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 Class Member’s vehicle is insured at the time of the qualifying event. Other variables include

 whether a Class Member paid a documentary fee in connection with a replacement vehicle

 purchase,19 the amount of sales tax paid, and whether a class member experienced increased

 insurance premiums. The nature of the proposed settlement, in which Class Members are required

 to establish loss with documentary proof during the claims process, aligns settlement benefits with

 the amount of costs incurred. That is, for total loss scenarios those with higher value vehicles

 obtain greater recovery than those with lower value vehicles, or, in other words, Class Members

 with the most harm receive the greatest benefits.



 Bases for Cost Estimates:

 43.      Below, I briefly summarize the bases for my empirical findings and/or assumptions

 employed in forming these estimates.

 A)       Direct Vehicle Replacement Costs: Staff under my direction queried vehicle values for

 approximately 4,000 make/model/model year/trim level/date combinations from noted automotive

 information source JD Power.20 For each of these combinations, researchers gathered Retail and

 Average Trade-in values. Retail Values reflect the expected price that a buyer would pay in a

 typical transaction at a dealership for that vehicle. Average Trade-in reflects the average price that

 a consumer selling a vehicle to a dealership would expect to receive for that vehicle without

 additional selling effort or vehicle improvement. JD Power is a noted source of automotive

 information, particularly regarding market prices. Decision-makers, analysts, manufacturers,

 dealerships, financial institutions, government entities, and others rely upon JD Power values in


 19
    While on an overall basis, I consider the propensity of all potential claimants to pay documentary fees, individual
 claimants will have paid documentary fees or no documentary fees. Therefore, the detailed illustrative calculations
 are not probability-adjusted.
 20
    https://www.jdpower.com/jd-power-pricing-and-values


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 the ordinary course of business. Parties relied upon JD Power (NADA) values in determining the

 distribution of billions of dollars of settlement distributions in the Volkswagen Diesel Emissions

 matters. Given the reliability and accessibility of its products, JD Power is a reasonable and

 suitable proxy for Black Book values, which I understand the claims administrator will apply at

 the administration phase of the settlement.

 C)      Ancillary Vehicle Replacement Costs: For tax amounts and documentary fee amounts, I

 rely upon noted automotive information provider Edmunds.21 Like JD Power, Edmunds is

 recognized as reliable by many parties in the retail automotive industry. I am familiar with

 Edmunds’ data resources and their evaluation methods. I have also confirmed through independent

 research the reliability of Edmunds’ estimates of typical documentary fees and tax rates.

 I estimate average documentary fees, and sales tax rates by aggregating from state level data and

 averaging state-level rates based on each state’s weighted share of currently active Class Vehicles

 in Operation, drawn from S&P Global (formerly IHS Automotive), a data firm considered reliable

 by virtually all major parties in the retail automotive industry.22

 D)      Probability-Adjusted Ancillary Vehicle Replacement Costs: As mentioned earlier, I

 apply probability adjustments as an enhancement to Ancillary Vehicle Replacement Costs. Here,

 I evaluate consumer’s tendency to incur common ancillary vehicle costs, such as documentary

 fees. I rely upon two sources for my findings. The first is extensive independent research conducted

 by Fontana over the last several years. This research used publicly available information and



 21
    https://www.edmunds.com/car-buying/what-fees-should-you-pay.html#step6, includes one example of Edmunds
 consumer information publications. I understand that Edmunds participates in many data-sharing arrangements with
 dealerships, manufacturers and other market research/information firms. I have relied on Edmunds in consultation
 and litigation, including for purposes of estimating vehicle replacement cost.
 22
    See: https://www.spglobal.com/mobility/en/index.html. I have relied upon S&P Global and its predecessors on
 dozens, if not hundreds of occasions, without challenge. Furthermore, virtually all U.S. manufacturers/distributors
 rely on Edmunds both in litigation and in the ordinary course of business.


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 surveys of dealerships to determine the likelihood that customers purchasing vehicles from various

 dealerships will pay documentary fees at those dealerships. The propensity for consumers to pay

 documentary fees are a function of the probability that consumers will a) purchase from dealerships

 and b) purchase from dealerships that charge documentary fees. Our prior research combined data

 concerning the propensities of consumers to purchase from dealerships with given dealerships’

 practices regarding documentary fees. In this matter, I relied upon data from S&P Global to

 determine the propensity of actual purchasers of Class Vehicles during 2021 and 2022 to buy from

 dealerships versus from private parties or other sellers. I estimate national average costs based on

 state level data weighted on each state’s share of Class Vehicles in operation.

 E) Insurance Deductible Costs: Multiple sources confirm that a $500 deductible amount is the

 median and modal deductible amount.23 I have also consulted on many insurance-related matters

 and have observed that average deductible amounts tend to be close to $500.

 F) Repair Costs: Statista reports that average claim amounts for damage repair were $5,010 in

 2021.24 Notably, this cost level was much higher than costs in prior years. I did not locate a

 corresponding figure for 2022 in the public realm.

 G) Reclassification to Salvage Vehicle: Many sources, as confirmed by prior research, report that

 vehicles deemed “totaled” or salvage vehicles have values of 10-50% of their pre-incident resale

 values.25 25% is an average rule of thumb that is likely conservative as applied to calendar years

 2021 and likely 2022. Auction prices generally accelerated at an unprecedented rate in 2021 and

 remained high in 2022 despite falling from the earlier peak. Additionally, supply chain disruptions

 and decreased vehicle supply increased values of spare parts and replacement parts.26


 23
    See F/N 6.
 24
    See F/N 7.
 25
    See F/N 8.
 26
    See, e.g., https://cbsaustin.com/news/nation-world/wrecked-cars-and-scrap-parts-rising-in-value.


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 H) Other Incidental Costs: I understand that parties also consider that Class Members may

 consider other incidental costs incurred in connection with Total Loss and Partial Loss events.

 Examples of these costs include towing, rental car expenses, childcare expenses, or storage

 expenses. I have not attempted to quantify these costs for the purpose of this Declaration. However,

 in reviewing claims files in other matters, it is my experience that these costs tend to be modest.

 For example, many drivers carry independent towing coverage. Additionally, amounts paid for

 salvage vehicles are generally net of towing and storage costs. Likewise, many insurance policies

 cover many incidental costs like towing and rental car expense. Therefore, a risk adjusted cap of

 $250 for these incidental costs appears reasonable.



 8. SUMMARY OF EMPIRICAL FINDINGS

 44.      As set forth in the body of this declaration, most insured class members are likely to receive

 near full compensation for their qualifying events, even based upon risk-adjusted payment

 amounts.

 45.      While I do not have direct information regarding the percentage of class members who

 carried comprehensive/collision coverage at the time of their qualifying events, under typical

 behaviors, it is likely that the frequency of uninsured class members was relatively low.27

 Accordingly, the presence of insurance coverage will likely reduce the number of claims relating

 to high value vehicles owned by uninsured individuals—the individuals with the largest




 27
   For reference, see prior discussion regarding the portion of all vehicles that are subject to collision/comprehensive
 coverage, the newer mix of Class Vehicles versus the overall U.S. fleet of passenger vehicles, the high proportion of
 Class Vehicles with values greater than levels at which consumer and insurance industry sources recommend
 dropping collision/comprehensive coverage, and the mandate that vehicles subject to finance liens must carry
 collision/comprehensive insurance.


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 conceptually possible claims. In other words, if a vehicle is on the more expensive end of the

 spectrum, it is highly likely that the vehicle is insured.

 46.      I reasonably estimate, based on prior experience with class settlements, that the claims rate

 will average approximately 15 percent.28 If we conservatively assume a 20% claims rate, an

 average claim of $5,500, and that approximately 225,000 Class Vehicles have been stolen, the

 fund needed to pay all these claims would be approximately $247,500,000. Applying Class

 Counsel’s 40% risk discount, this results in $148,200,000, which approximates the $145,000,000

 Common Fund ceiling. Again, these figures are likely conservative, as it is reasonable to assume

 that many recovered theft vehicles suffered little physical damage beyond damage to the steering

 column.

 Claim Examples
 47.      As shown in detail in Tab 7 and summarized in Table 2 below, Class Members with the

 most damage are eligible to receive the highest recovery, thereby tailoring recovery amounts to

 the specific amount of damage sustained.



 Table 2: Hypothetical Total Loss Claim Examples

  Vehicle                   Scenario            Retail          Total Costs      Payment                %

                                                Value                                                   Recovery

  2019 Kia Optima Insured T/L                   $29,063         $4,378           $4,378                 100%

  4d SX Turbo




 28
   My CV, attached as Tab 1, identifies prior engagements. I have consulted in relatively large matters involving fuel
 economy settlements, the Toyota Unintended Acceleration matter, the Wells Fargo Unauthorized Accounts matter,
 cases related to the Ford DPS6 (PowerShift Transmission), and other matters.


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  2013       Hyundai Uninsured            $8,625          $8,132       $3,458              42.5%

  Elantra Coupe 2D       Recovered        Trade-in                     [$5,763 * 60%]

                         Theft            =$5,763

  2015    Kia    Forte Uninsured          $13,050         $11,379      $5,903              51.9%

  Coupe 2D               Recovered        Trade-in                     [$9,838 * 60%]

                         Theft            =$9,838




 9. RELIANCE MATERIALS

 48.     My methods and analyses contained herein are of a type reasonably relied upon by experts

 in the field in forming opinions or inferences on these subjects.

 49.     I rely upon the sources specifically cited in this report, including those noted on exhibits to

 this report. I also rely upon my experience in other consultations in the retail automotive industry

 and matters relating to vehicle values, vehicle replacement cost, salvage vehicles, and various

 aspects of insurance coverage.


 10. COMPENSATION/LIMITATIONS

 50.     For time spent working on this matter, Plaintiffs compensate my employer at the rate of

 $550 per hour. Plaintiffs compensate my employer at scheduled rates between $65 and $185 per

 hour for work performed by staff members. This declaration is prepared only for the express

 purpose set forth here and for no other purposes.




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 I hereby declare under penalty of perjury that the foregoing is true and correct.



 Dated: September 27, 2023



                                                              Edward M. Stockton

                                                              Edward M. Stockton




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 EDWARD M. STOCKTON

 EDUCATION

 University of Arizona, Tucson, AZ
 M.S., Agriculture and Resource Economics (Applied Econometrics), 2010.
 Western Michigan University, Kalamazoo, MI
 B.A., Economics, 1998


 POSITIONS

 The Fontana Group, Inc., Tucson, Arizona
        Vice President Economics Services: 2012 - present
        Director of Economics Services: 2011 - 2012
        Case Manager: 2005 - 2011
        Senior Analyst: 2000 - 2005
        Analyst: 1998 - 1999
 Old Ina Corporation Tucson, AZ
        Supervisor, Analyst, Manager: 1995 - 1998


 RESEARCH AND CONSULTING EXPERIENCE

 Mr. Stockton studies complex economic problems across multiple industries, including the retail
 automobile and other complex markets for durable goods. Additionally, he consults on matters
 involving conceptual foundations and calculation of economic harm. He has provided
 consultation for clients in numerous areas including:

 • Retail automobile franchising, economics and marketing
 • Economic impact of market malfunctions
 • Allocation of new vehicles during shortages
 • Franchise terminations and establishments
 • Principles of customer satisfaction measurement
 • Principles of sales performance measurement
 • Financial forecasts and other analysis
 • Applied econometrics
 • Consumer credit markets
 • Economic theory of competition and investment
 • Competition in markets for durable, differentiated goods




                                                                                      Tab 1 Page 1
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 REPRESENTATIVE CLIENT ASSIGNMENTS


 Lucid Group USA, Inc., v. Monique Johnston, in Her Official Capacity as Director of the Motor
 Vehicle Division of the Texas Department of Motor Vehicle; Daniel Avitia, in His Official
 Capacity as Executive Director of the Texas Department of Motor Vehicles; and Corrie
 Thompson, in Her Official Capacity as Director of the Enforcement Division of the Texas
 Department of Motor Vehicles, Austin, TX, 2023.

 Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability Litigation,
 Encino, CA, 2023.

 Volkswagen Group Diesel Efficiency Foundation v. Volkswagen Aktiengesellschaft, Utrecht, NL,
 2023.

 Volkswagen Group Diesel Efficiency Stichting v. Volkswagen Aktiengesellschaft, Groningen, NL,
 2023.

 Aaron Gant, et al. v. Ford Motor Company, Orlando, FL, 2023.
 Provided deposition testimony.

 Juliet Murphy, et al., v. Toyota Motor Corporation, et al., Sherman, TX, 2023.

 Cowin Equipment Company, Inc., v. CNH Industrial America LLC and Scott Moore,
 Birmingham, AL, 2023.
 Provided deposition testimony.

 Hyundai Subaru of Nashville, Inc. d/b/a Downtown Hyundai v. Hyundai Motor America, Inc.,
 Nashville, TN, 2023.
 Provided hearing testimony.

 Rusnak/Pasadena, a California Corporation v. Jaguar Land Rover North America, LLC, Las
 Angeles, CA, 2023.
 Provided deposition testimony.

 Shakopee Chevrolet, Inc., v. General Motors, LLC, Shakopee, MN, 2023.

 CJ’s Road to Lemans Corp dba Audi Fresno, a California Corporation, v. Volkswagen Group of
 America, Inc., a New Jersey Corporation, dba Audi of America, Inc., Fresno, CA, 2023.




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 Ranbir Gujral and Danielle Emerson, on behalf of themselves and the Putative Class, v. BMW
 Of North America, LLC, and Bayerische Motoren Werke Aktiengesellschaft, Cherry Hill, NJ,
 2023.
 Provided deposition testimony.

 Action Nissan, Inc. D/b/a Universal Hyundai for Itself and in the Name of the Department of
 Highway Safety and Motor Vehicle of the State of Florida, for its Use and Benefit v. Hyundai
 Motor America and Genesis Motor America, LLC, Orlando, FL, 2023.
 Provided deposition testimony.

 Al Piemonte Ford, Inc., at al v. Ford Motor Company, Chicago, IL, 2023.
 Provided deposition testimony and hearing testimony.

 Wasko Automotive, Inc. D/b/a St. Marys Chrysler Dodge Jeep Ram Fiat, Spitzer, v. FCA US
 LLC, St. Marys, PA, 2023.

 Yandery Sanchez, Louise Knudson, Andrea Reiher-Odom, Derrick Smith, Amber Witt, and Mark
 Treston, on behalf of themselves and all others similarly situated, v. Kia Motors America, Inc.,
 Central District of CA, 2023.
 Provided deposition testimony.

 Larson Motors, Inc. v. General Motors LLC, et al. Seattle, WA, 2023.
 Provided deposition testimony.

 Kpauto, LLC, dba Putnam Ford of San Mateo v. Ford Motor Company, Los Angelas, CA, 2023.
 Provided hearing testimony.

 Durwin Hampton, individually and on behalf of all others similarly situated v. General Motors
 LLC, Poteau, OK, 2023.

 Estate of William D. Pilgrim, et al., on behalf of themselves and all others similarly situated v.
 General Motors, LLC, Detroit, MI, 2023.
 Provided deposition testimony.

 Hyundai Motor America Corporation v. EFN West Palm Motor Sales, LLC
 (Defendant/Counterclaim Plaintiff/Third-Party Plaintiff ) Gene Khaytin; Ernesto Revuelta;
 Edward W. Napleton; Geovanny Pelayo, Jorge Ruiz (Defendants), EFN West Palm Motor Sales,
 LLC; For Itself and in the Name of the Department of Highway Safety and Motor
 Vehicles of the State of Florida, for its Use and Benefit (Counterclaim-Plaintiff/Third-Party
 Plaintiff) v. Hyundai Motor America Corporation (Counterclaim-defendant) And Hyundai Motor
 Company (Third-party Defendant), West Palm Beach, FL, 2021-.
 Provided deposition and trial testimony.



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 Sloan/Siqueiros, et al. v. General Motors LLC, San Francisco, CA, 2019-
 Provided deposition and trial testimony.

 Spitzer Autoworld Akron, LLC, v. Fred Martin Motor Company, Akron, OH, 2022-.
 Provided deposition and trial testimony.

 Hyundai Motor American Corporation v. North American Automotive Services, Inc. Et al, West
 Palm Beach, FL, 2021-

 Jason Nuwer, Mark Minkowitz, Amarillis Gineris, Christina Vigoa, and Kevin Van Allen v. FCA
 US LLC f/k/a Chrysler Group LLC, Miami, FL, 2021-
 Provided deposition testimony.

 Chapman, et al, v. General Motors, LLC., Detroit, MI, 2021-.
 Provided deposition testimony.

 James Bledsoe, et al, v. FCA US LLC, and Cummins Inc., Detroit, MI, 2021-.
 Provided deposition testimony.

 In Re: Duramax Diesel Litigation, Relating to: Nancy Anderton, et al., v. General Motors LLC,
 et al., Detroit, MI, 2020-.
 Provided deposition testimony.

 Fox Hills Auto, Inc. D/b/a Airport Marina Ford v. Ford Motor Company, Central Ford
 Automotive, Inc., dba Central Ford v. Ford Motor Company and Los Feliz Ford, Inc., dba Star
 Ford Lincoln v. Ford Motor Company, Los Angeles, CA, 2021-.
 Provided deposition testimony.

 West Palm Beach Acquisitions, Inc. d/b/a Greenway Kia West Palm Beach and Florida
 Department of Highway Safety & Motor Vehicles, v. Kia Motors America, Inc., West Palm
 Beach, FL, 2020-.
 Provided deposition testimony.

 Kenneth John Williams and Another Applicants v. Toyota Motor Corporation Australia Limited,
 New South Wales, Australia, 2020-.
 Provided trial testimony.

 Gabriel Patlan, Ryan Cornell, and La Della Levy, on behalf of themselves and all others
 similarly situated v. BMW of North America LLC; Wendy Vazquez, on behalf of herself and all
 individuals similarly situated v. BMW of North America, LLC; Vikkie Wilkinson, on Behalf of
 Herself and the Putative Class, v. BMW of North America, LLC and Bayersiche Motoren Werke
 Aktiengesellschaft, Trenton, NJ. 2020-.
 Provided deposition testimony.


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 Peterson Motorcars, LLC et al v. BMW of North America, LLC, Louisville, KY, 2019-.
 Provided deposition testimony.

 James Bledsoe, Paul Chouffet, Martin Rivas, Jeremy Perdue, Michael Erben, Martin Witberg,
 Marty Ward, Alan Strange, James Forshaw, Matt Langworthy, Natalie Beight, Jordan Hougo,
 Dawn Roberts, and Marc Ganz, on Behalf of Themselves and All Others Similarly Situated,
 v FCA US LLC, a Delaware Corporation, and Cummins Inc., an Indiana Corporation, Detroit,
 MI, 2021-
 Provided deposition testimony.

 Ricardo R. Garcia, et al. v. Volkswagen Group of America, Inc., et al., Alexandria, VA, 2020-.
 Provided deposition testimony.

 Paul Weidman, et al., v Ford Motor Company, Detroit, MI, 2020-.
 Provided deposition testimony.

 Milind Desai v. Geico Casualty Company, Cleveland, OH, 2020-.
 Provided deposition testimony.

 Eric Stevens, Christopher L. Rodriguez, Michael S. Frakes, Terry Pennell, Ray Moore, Kent
 Larry Bakken, Lynn E. Kirkpatrick, and Michael E. Stone v. Ford Motor Company. Corpus
 Christi, TX, 2021-.
 Provided deposition testimony.

 In the matter of Luxury Cars of Bayside, Inc., v. BMW of North America, LLC, Long Island,
 NY, 2019-.
 Provided hearing testimony.

 Clarence Simmons, Franklin Navas, Jorge Arroyave, Joseph Dabbs, Jennifer DeWitt, Anne
 Erdman, Mark James, Shand Jackson, Mike Tierney, Mark Van Bus Kirk, John Buczynski, Ilja
 Lopatik, Brian Yarborough, William MacSaveny, Ryan Marshall, Allyson Rogers, Peter Tulenko,
 and Greg Licktenberg, on behalf of themselves and all others similarly situated v. Ford Motor
 Company, Miami, FL, 2021-.
 Provided deposition testimony.

 Kimberley Carter and Keith Halliday v. Ford Motor Company of Canada, Ltd., Ford Credit
 Canada Limited and Ford Motor Company, Toronto, Canada, 2020-.
 Provided cross-examination testimony.




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 Braman Motors, Inc., d/b/a Braman BMW, for Itself and in the Name of the Department of
 Highway Safety and Motor Vehicles of the State of Florida, for its Use and Benefit, and
 Palm Beach Imports, Inc., d/b/a Braman Motorcars, for Itself and in the Name of the Department
 of Highway Safety and Motor Vehicles of The State of Florida, for its Use and Benefit, and The
 Department of Highway Safety and Motor Vehicles of the State of Florida, for the Use and
 Benefit of Braman Motors, Inc. and Palm Beach Imports, Inc. v. BMW of North America, LLC.
 Miami, FL.
 Provided deposition testimony 2/2021.

 Gina Signor, Individually and on Behalf of All Those Similarly Situated v. Safeco Insurance
 Company of Illinois, Ft. Lauderdale, FL, 2020-.
 Provided deposition testimony.

 Between Barry Rebuck and Ford Motor Company and Ford Motor Company of Canada, Limited
 and Yonge-Steeles Ford Lincoln Sales Limited Proceeding under the Class Proceedings Act,
 1992, Toronto, Ontario, Canada, 2018-.
 Provided cross-examination testimony.

 In Re: Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation
 Nemet v. Volkswagen Group of America, Inc., San Francisco, CA, 2019-.
 Provided deposition testimony.

 William South, Individually and on Behalf of All Those Similarly Situated v. Progressive Select
 Insurance Company, Tampa, FL, 2020-.
 Provided deposition testimony.

 Biljana Capic v. Ford Motor Company of Australia Limited, New South Wales, Australia, 2019-.
 Provided trial testimony.

 Jason Counts, Donald Klein, Oscar Zamora, Derek Long, Bassam Hirmiz, Jason Silveus, John
 Miskelly, Thomas Hayduk, Christopher Hemberger, Individually and on Behalf of All Others
 Similarly Situated, v. General Motors, LLC, Robert Bosch GMBH, and Robert Bosch, LLC,
 Detroit, MI, 2019-.
 Provided deposition testimony.

 Alfredo’s Foreign Cars, Inc., d/b/a Larchmont Chrysler Jeep Dodge v. FCA US LLC, NY, NY
 2019-
 Provided hearing testimony.

 George Tershakovec, et al. v. Ford Motor Company, Miami, FL, 2019-
 Provided deposition testimony.




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 Continental Imports Inc. d/b/a Mercedes Benz of Austin v Swickard Austin, LLC d/b/a
 Mercedes Benz of South Austin, Austin, TX, 2019-
 Provided deposition and hearing testimony.

 Vista Ford Oxnard, LLC., d/b/a Vista Ford Lincoln of Oxnard v. Ford Motor Company and Ford
 of Ventura, Inc., d/b/a Ford of Ventura, Intervenor, Oxnard, CA, 2019-.
 Provided deposition and hearing testimony.

 Colonial Chevrolet Co., Inc., et al.; Alley’s of Kingsport, Inc., et al.; and Union Dodge, Inc., et
 al. v. The United States, Washington, DC, 2011-.
 Provided deposition and trial testimony.

 Barber Group, Inc., d/b/a Barber Honda v. American Honda Motor Co., Inc., Galpinsfield
 Automotive, LLC, Intervenor. Bakersfield, CA, 2018-.
 Provided deposition and hearing testimony.

 Association of Equipment Manufacturers, AGCO Corporation, CNH Industrial America LLC,
 Deere & Company, and Kubota Tractor Corporation, v. the Hon. Doug Burgum, Governor of the
 State of North Dakota, in His Official Capacity, and the Hon. Wayne Stenehjem, Attorney
 General of the State of North Dakota, in His Official Capacity, and North Dakota Implement
 Dealers Association, Intervenor-Defendant, Bismarck, ND, 2018-.
 Provided deposition testimony.

 Napleton’s Arlington Heights Motors, Inc. f/k/a Napleton’s Palatine Motors, Inc. d/b/a
 Napleton’s Arlington Heights Chrysler Dodge Jeep RAM, an Illinois Corporation; et. al,
 v FCA US LLC, Chicago, IL, 2017-.
 Provided deposition and hearing testimony.

 Star Houston, Inc. d/b/a Star Motor Cars v. Volvo Cars of North America, LLC, Houston, TX,
 2017-.
 Provided deposition and hearing testimony.

 Sioux City Truck Sales, Inc. v. Peterbilt Motors Company, Sioux City, IA, 2017-.
 Provided deposition and hearing testimony.

 Capitol Buick GMC, LLC v. General Motors LLC, Baltimore, MD, 2017-.
 Provided deposition and hearing testimony.

 Crown Chrysler Jeep, Inc. d/b/a Crown Kia v. Kia Motors America, Columbus, OH, 2017-
 Provided deposition and hearing testimony.

 Folsom Chevrolet, Inc. dba Folsom Chevrolet v. General Motors, LLC, Folsom, CA, 2017-.
 Provided deposition and hearing testimony.


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 Sunnyvale Automotive Inc., dba Sunnyvale Ford Lincoln v. Ford Motor Company, Sunnyvale,
 CA, 2017-.
 Provided deposition testimony.

 Omar Vargas, Robert Bertone, Michelle Harris, and Sharon Heberling, individually and on
 behalf of a class of similarly situated individuals v. Ford Motor Company, Los Angeles, CA,
 2017-.

 Charles Johnson, et al. individually and on behalf of all others similarly situated v. Ford Motor
 Company, Huntington, WV, 2017-.
 Provided deposition testimony.

 Shawn Panacci v. Volkswagen Aktiengesellschaft, Volkswagen Group Canada, Inc., Audi
 Aktiengesellschaft, VW Credit Canada, Inc. and Audi Canada, Toronto, Ontario, Canada, 2017-.

 Rebecca Romeo and Joe Romeo v. Ford Motor Company and Ford Motor Company Canada,
 Limited, Toronto, Ontario, Canada, 2017-.
 Provided cross-examination testimony.

 Duncan McDonald v. Samsung Electronics Canada, Inc. Toronto, Ontario, Canada, 2017-.
 Provided cross-examination testimony.

 The Estate of Richard C. Poe, Richard C. Poe II v. Paul O Sergent, Jr., et al., El Paso, TX, 2017-
 Provided deposition testimony.

 Star Houston, Inc. d/b/a Star Motor Cars v. VCWH. LLC d/b/a Volvo Cars West Houston and
 Volvo Cars of North America, LLC, Houston, TX, 2017-.
 Provided deposition testimony.

 Option Consommateurs et Francois GrondinPersonne Désignée C. Volkswagen Group Canada
 Inc. et al.(2L), Montreal, Quebec, 2017-.

 Option Consommateurs et Francois GrondinPersonne Désignée C. Volkswagen Group Canada
 Inc. et al. (3L), Montreal, Quebec, 2017-.

 John M. McIntosh v. Takata Corporation, TK Holdings, Toyota Motor Corporation, Toyota
 Motor Manufacturing, Canada Inc., and Toyota Motor Manufacturing Indiana, Inc., Toronto,
 Ontario Canada, 2017-

 Rick A. Des-Rosiers and Stephen Kominar v. Takata Corporation, TK Holdings, Honda Motor
 Co., LTD, Honda of America Manufacturing, Inc., and Honda Canada, Toronto, Ontario,
 Canada 2017-.



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 Yogesh Kalra v. Mercedes-Benz Canada Inc., Daimler AG, Mercedes-Benz USA LLC and
 Mercedes-Benz Financial Services Canada Corporation, Toronto, ON, Canada, 2017-.
 Provided cross-examination (deposition) testimony.

 Lake Forest Sports Cars, LTD v. Aston Martin Lagonda of North America, Inc., Chicago, IL,
 2017.
 Provided deposition testimony.

 Shahriar Jabbari and Kaylee Heffelfinger on behalf of themselves and all others similarly
 situated v. Fargo Company and Wells Fargo Bank, N.A. San Francisco, CA, 2016-.

 Matthew Robert Quenneville et al. v. Volkswagen Group Canada, Inc.,Volkswagen
 Aktiengesellschaft, Volkswagen Group of America, Inc., Audi Canada, Audi Aktiengesellschaft,
 Audi of America, Inc., Inc., and VW Credit Canada, Inc. (2L), Ontario, Canada, 2016-.

 Matthew Robert Quenneville et al. v. Volkswagen Group Canada, Inc.,Volkswagen
 Aktiengesellschaft, Volkswagen Group of America, Inc., Audi Canada, Audi Aktiengesellschaft,
 Audi of America, Inc., Inc., and VW Credit Canada, Inc. (3L), Ontario, Canada, 2016-.

 Fort Collins Nissan, Inc. d/b/a Tynan’s Kia, v. Kia Motors America, Inc., Ft. Collins, CO, 2015-.
 Provided deposition testimony.

 In Re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products Liability Litigation,
 Napleton et al v. Volkswagen Group of America et al., No. 16-02086, 2015-.

 Above including J. Bertolet, Inc. et al v. Robert Bosch, LLC and Robert Bosch GmbH., MDL
 No. 02672-CRB (JSC), 2016-.
 Provided deposition testimony 8/2019.

 Northwest Hills Chrysler Jeep, LLC; Gengras Chrysler Dodge Jeep, LLC; Crowley Jeep Dodge,
 Inc.; Papa’s Dodge, Inc. v. FCA US, LLC and Mitchell Dodge, Inc., Canton, CT, 2015-2017.
 Provided deposition and hearing testimony.

 VMDT Partnership, LP, v. Thornbury Township, Delaware County, Pennsylvania, 2015-.
 Provided hearing testimony.

 John Deere Construction & Forestry Company v. Rudd Equipment Company, Inc., Houston, TX,
 2015-2017.
 Provided hearing testimony.

 Ball Automotive Group d/b/a Ball Kia, v. Kia Motors America, Inc., San Diego, CA, 2015-2017.
 Provided deposition testimony.



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 GB Auto Corporation d/b/a Frisco Kia, v. Corinth Automotive Plano, d/b/a Central Kia of
 Plano, Kia Motors America, Inc. Intervenor, Dallas, TX, 2015-2017.
 Provided deposition testimony.

 Walter Enterprises, Inc., d/b/a Timmons Subaru v. Subaru of America, Inc., Long Beach, CA,
 2016-2017.
 Provided deposition testimony.

 Motor Werks Partners, LP, v. General Motors, LLC, Chicago, IL, 2015-2017.
 Provided deposition testimony.

 Jeff Looper et al., v. FCA US LLC, f/k/a Chrysler Group, LLC, et al., California and
 Texas, 2015-2016.
 Provided deposition testimony.

 In Re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products Liability Litigation,
 San Francisco, CA, 2015-2017.

 Dependable Dodge, Inc. v. Fiat Chrysler Automobiles, Inc., Canoga Park, CA, 2015-2017.
 Provided deposition and hearing testimony.

 Wayzata Nissan, LLC v. Nissan North America, Inc., et al., Wayzata, MN, 2015-2017.
 Provided pre-filed trial testimony.

 Glick Nissan, Inc. v. Nissan North America, Inc., Westborough, MA, 2015-2016.

 Volvo Construction Equipment North America, LLC v. Clyde/West, Inc., Spokane, WA, 2015.

 General Motors, LLC v. Hall Chevrolet LLC dba Hall Chevrolet, Virginia Beach, VA, 2015-
 2016.

 Long Beach Motors, Inc. dba Long Beach Honda v American Honda Motor Co., Inc., Long
 Beach, CA, 2015.

 Tom Matson Dodge Inc. v. FCA US LLC., Seattle, WA, 2015.

 Ferrari of Atlanta, Atlanta, GA 2015.

 Grossinger Autoplex, Inc. v. General Motors, LLC, Chicago, IL, 2015-2016.
 Provided deposition and hearing testimony.

 Mathew Enterprise, Inc. v. Chrysler Group LLC, San Jose, CA, 2015-2016.
 Provided deposition and trial testimony.


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 Navistar v. New Baltimore Garage, Warrenton, VA, 2015-2016.
 Provided hearing testimony.

 Mathew Enterprise, Inc., a California Corporation, and Mathew Zaheri, an individual v.
 Chrysler Group, LLC, a Delaware Liability Company; Chrysler Group Realty Company, LLC, a
 Delaware Limited Liability Company, and DOES 1-40, San Jose, CA 2014-2015.
 Provided trial and deposition testimony.

 CNH America, LLC n/k/a CNH Industrial America, LLC v. Quinlan’s Equipment, Inc., Racine,
 WI, 2014-2015.
 Provided deposition testimony.

 Grayson Hyundai, LLC and Twin City Hyundai, Inc., v. Hyundai Motor America, Knoxville, TN,
 2014-2015.
 Provided deposition testimony.

 TrueCar, Inc. v. Sonic Automotive, Inc., and Sonic Divisional Operations, LLC, Los Angeles,
 CA, 2015-2016.
 Provided deposition testimony.

 TECC, Complaintant v. GM Respondent before the California New Motor Vehicle Board,
 Oakland, CA, 2014-15.

 US District Court Southern District of NY in re General Motors LLC Ignition Switch Litigation,
 NY, NY, 2014-.

 Feldten, LLC, d/b/a Tennyson Chevrolet v. Keith Lang, Lang Auto Sales, Inc.,Gordon Chevrolet,
 Inc.,Stewart Management Group, Inc., Scott Rama, Susan Ianni, and Mike Meszaros, and
 Gordon Chevrolet, Inc.& Stewart Management Group, Inc. Detroit, MI, 2014-2016.

 Canadian Toyota Unintended Acceleration Marketing, Sales Practices, and Products Liability
 Litigation, 2014-.

 Jim Hardman, Buick GMC, Gainesville, GA, 2014-2016.

 Bates Nissan, Inc., v. Nissan North America Inc., Killeen, TX, October 2014-2017.
 Provided deposition and hearing testimony.

 Recovery Racing, LLC d/b/a Maserati of Fort Lauderdale v. Maserati North America, Inc., and
 Rick Case Weston, LLC, d/b/a Rick Case Maserati, Ft. Lauderdale, FL, 2014-.
 Provided hearing testimony.




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 Sweeten Truck Center, L.C. v. Volvo Trucks North America, a Division of Volvo Group North
 America, LLC, Before the Texas Department of Motor Vehicles Motor Vehicle Division, Austin,
 TX, 2014-.
 Provided deposition and hearing testimony.

 Beck Chevrolet Co, Inc. v. General Motors LLC, New York, NY 2014-2016.
 Provided trial testimony.

 BSAG Inc., and Bob Stallings Nissan of Baytown, Inc. v. Baytown Nissan, Inc., Burklein Family
 Limited Partnership, Nissan North America, Inc., and Frederick W. Burklein, Harris County, TX
 2014-.
 Provided deposition testimony.

 Richard C.B. Juca v. Larry H. Miller Corporation, Peoria, AZ, 2014.

 General Motors, LLC v. Leep Chev, LLC, d/b/a Lujack’s Chevrolet, Scott County, IA. 2014-2015
 Provided deposition testimony.

 Century Motors Corporation v. Chrysler Group, LLC et al., Wentzville, MO 2014-2015.
 Provided deposition and trial testimony.

 Keyes European, LLC v. Encino Mercedes, LLC, Steve Zubieta, David Floodquist, Shimon
 Broshinsky and Does 1-20, Los Angeles, CA, 2014.

 Ohio Auto Dealers Association, 2014.

 Transteck, Inc. d/b/a Freightliner of Harrisburg v. Daimler Trucks North America, LLC
 (Freightliner Trucks Division), Harrisburg, PA, 2014-2015.

 Butler Toyota et al v. Toyota Motor Sales, Indianapolis, IN, 2014.

 Wayzata Nissan, LLC v. Nissan North America, Inc., et al., Wayzata, MN, 2013-2017.

 Santa Cruz Nissan, Inc., dba Santa Cruz Nissan v. Nissan North America, Inc., Santa Cruz, CA
 2013-2015.
 Provided deposition and hearing testimony.

 Majid Salim v. Henry Khachaturian aka Hank Torian, Torian Holdings, Fremont Automobile
 Dealership, LLC., and Does 1-20, Alameda County, CA, 2013-2014.
 Provided deposition and trial testimony.

 GMAC v. Lloyd Belt, Lloyd Belt GM Center, Inc., and Lloyd Belt Chrysler, Inc., Eldon, MO
 2013-2014.
 Provided deposition testimony.

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 General Motors v. Englewood Auto Group, LLC, Englewood, NJ, 2012-2014.

 Bob Wade Autoworld v. Ford Motor Company, Harrisonburg, VA, 2011-2012.
 Provided hearing testimony.

 Van Wie Chevrolet, Inc. d/b/a Evans Chevrolet v. General Motors LLC and Sharon Chevrolet,
 Inc., Baldwinsville, NY, 2012-2017.
 Provided deposition testimony.

 Midcon Compression L.L.C. v. Loving County Appraisal District, Loving County, TX, 2013.
 Provided deposition testimony.

 Texas Automobile Dealers Association, Austin, TX, 2013.
 Provided hearing testimony before Business and Industry Committee in Texas H.O.R.

 Tyler Automotive, Niles, MI, 2013.

 Sutton Suzuki, Matteson, IL 2013.

 Carson Toyota/Scion, Cabe Toyota/Scion, Norwalk Toyota/Scion and South Bay Toyota/Scion v.
 Toyota Motor Sales, U.S.A., Inc., Long Beach, CA, 2012-2013.
 Provided deposition and hearing testimony.

 James T. Stone, individually, and on Behalf of JDJS Auto Center, Inc. v. Jacob A. DeKoker, Pro
 Financial, Inc., and JDJS Auto Center, Inc., Tyler, TX, 2012.

 New Country Automotive Group, Saratoga Springs, NY, 2013-.

 Goold Patterson, Las Vegas, NV, 2012.

 James Rist v. Denise Mueting and the Dominican Sisters of Peace, Littleton, CO, 2012-2013.
 Law Office of Gary E. Veazey, Memphis, TN, 2012.

 Randy Reed Nissan, 2012.

 Arent Fox, LLP, 2012.

 Chrysler Group, LLC v. Sowell Automotive, Inc. et al., 2012-2013.

 Morrie’s European Car Sales, Inc. dba Morrie’s Cadillac-Saab v. General Motors, LLC,
 Minneapolis, MN, 2012-.
 Provided deposition testimony.



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 Dulles Motorcars, Inc. d/b/a Dulles Subaru v. Subaru of America, Leesburg, VA, 2012-.
 Provided hearing testimony.

 Bowser Cadillac, LLC v. General Motors, LLC v. Rohrich Cadillac, Inc., McMurray, PA, 2012-.
 Provided hearing testimony.

 In Re: Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Expert
 Report of Products Liability Litigation, Santa Ana, CA, 2010-.

 Bob Wade Autoworld, 2012.

 Planet Subaru, John P Morrill, and Jeffrey R. Morrill v. Subaru of New England, Hanover, MA,
 2011-2012.

 Hill Nissan v. Jenkins Nissan, Winterhaven, FL, 2011-2012.

 Burns & Levinson, Boston, MA 2011-.

 Brydon, Sweringen & England, 2011.

 Napleton Automotive Group, Chicago, IL, 2011.

 Orloff Imports, Chicago, IL, 2011.

 Boas International Motors, dba San Francisco Honda, San Francisco, CA, 2011-.

 Carson CJ, LLC and Kenneth Phillips v. Sonic Automotive, Inc., Sonic-Carson F, Inc, Avalon
 Ford, Inc. dba Don Kott Chrysler Jeep, and Does 1 - 100, Los Angeles, CA, 2010-2012.
 Provided deposition and hearing testimony.

 First United, Inc. A California Corporation dba De La Fuente Cadillac v. General Motors,
 Greiner Poway, Inc. and Does 1-50, San Diego, CA, 2012.

 Ionia Automotive Management, LLC and Beverly Kelly v. Berger Motor Sales, Ned Berger, Jr,
 LC and Ned Berger Jr., Mason, MI, 2012-2013.

 Riverside Motorcycle, Inc. dba Skip Fordyce Harley-Davidson v. Harley-Davidson Motor
 Company, Riverside, CA, 2011- 2012.
 Provided deposition and hearing testimony.

 Leep Hyu, LLC, an Iowa Corporation also known as Lujack Hyundai v. Hyundai Motors
 America, Green Family Hyundai Inc., and Green Family Holdings LLC, Davenport, Iowa, 2011.
 Provided trial testimony.


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 Royal Motor Sales, San Francisco, CA, 2011-2012.

 Miller Barondess, Los Angeles, CA, 2011.

 Brotherhood of Maintenance of Way Employee Division/IBT, Washington, DC, 2011-.

 Star Houston, Inc., d/b/a Star Motor Cars v. Mercedes-Benz USA, LLC, Houston, TX, 2010-
 2013.
 Provided deposition testimony and hearing testimony.

 Chapman’s Las Vegas Dodge, LLC and Prestige Chrysler Jeep Dodge, LLC v. Chrysler Group
 LLC, Las Vegas, NV, 2011- 2012.
 Provided deposition and hearing testimony.

 Laidlaw’s Harley-Davidson Sales, Inc. dba Laidlaw’s Harley-Davidson v. Harley-Davidson
 Motor Company, Sacramento, CA, 2011- 2012.
 Provided deposition and hearing testimony.

 Agrillo v. Martinez, Tucson, AZ, 2011.

 Hyundai of Milford, LLC, d/b/a Key Hyundai v. Hyundai Motor America, Milford, CT, 2011.

 Houston Mack Sales & Service d/b/a Houston Isuzu Truck, Inc. v. Hayes Leasing Company, Inc.
 d/b/a Hayes UD Trucks-Houston, Houston, TX, 2011-2012.

 Bo Beuckmann Ford, Ellisville, MO, 2011-.

 Boas International Motors dba San Francisco Honda v. American Honda Motor Co., San
 Francisco, CA, 2011.
 Life Quality BMW, Brooklyn, NY, 2011-2012.

 Forrester Lincoln Mercury v. Ford Motor Company, Chambersburg, PA, 2011-.
 Provided hearing testimony.

 North Palm Motors, LLC d/b/a Napleton’s North Palm Lincoln Mercury v. Ford Motor
 Company, West Palm Beach, FL, 2011.

 Mega RV Corp. v. Mike Thompson Recreational Vehicles, Irvine, CA, 2010-.
 Provided deposition testimony.

 Harry W. Zanville, Esq., San Diego, CA, 2010-.

 Pond, Athey, Athey & Pond, Front Royal, VA, 2010-2013.


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 Daphne Automotive, LLC dba Eastern Shore Toyota and Shawn Esfahani v. Pensacola Motor
 Sales d/b/a Bob Tyler Toyota and Fred Keener, Mobile, AL, 2010-2011.

 Gebhardt v. PCNA, Boulder, CO, 2011.

 Fields Automotive Group, Glencoe, IL, 2011.

 Laura Buick-GMC, Collinsville, IL, 2011.

 Bredemann Family of Dealerships, Park Ridge, IL, 2011.

 Transteck, Inc. d/b/a Freightliner of Harrisburg, 2004-

 Bass Sox Mercer, Tallahassee, FL, 2011-.

 The Collection, Coral Gables, FL, 2011-2012.

 Manning, Leaver, Bruder & Berberich, Los Angeles, CA, 2010-2012.

 Magic City Ford v. Ford Motor Company, Roanoke, VA, 2010-2011.

 Bob Wade AutoWorld v. Ford Motor Company, Harrisonburg, VA, 2010-2011.

 East West Lincoln Mercury, Landover Hills, MD, 2010-2011.

 Stevens Love, Longview, TX, 2010-2014.

 JP Chevrolet, Peru, IL, 2010-2011.

 Bellavia & Gentile, Mineola, NY, 2010-2011.

 Hayes Leasing v. Wiesner Commercial Truck Center, Houston, TX, 2010.
 Link-Belt Construction Equipment Company v. Road Machinery & Supplies Co., Minneapolis,
 MN, 2010-2011.
 Provided deposition testimony.

 Elliott Equipment Co., Inc. v. Navistar, Inc., Easton, Maryland, 2010.
 Provided deposition testimony.

 Rally Auto Group, Inc. v. General Motors, LLC, Palmdale, CA, 2010.
 Provided hearing testimony.

 Ron Westphal Chevrolet v. General Motors, LLC, Aurora, CO, 2010.


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 Edmark Auto, Inc., v. General Motors, LLC, Nampa, ID, 2010.

 Gurley-Leep Dodge, Inc. n/k/a Gurley Leep Dodge, LLC v. Chrysler Group, LLC, Mishawaka,
 IN, 2010.

 Gurley-Leep Buick v. General Motors, LLC, Mishawaka, IN, 2010.

 Leep Chev, LLC, v. General Motors, LLC, South Bend, IN, 2010.

 Mike Finnin Motors, Inc., v. Chrysler Group LLC, Dubuque, IA, 2010.
 Provided hearing testimony.

 Sedars Motor Co., Inc. and Community Motors of Mason City, Inc. v. General Motors LLC,
 Cedar Falls, IA, 2010.

 Burke, Warren, MacKay & Serritella, P.C., Chicago, IL, 2010-.

 First Family, Inc. d/b/a Bredemann Chevrolet v. General Motors, LLC, Park Ridge, IL, 2010.

 Lou Bachrodt Chevrolet Co. d/b/a Lou Bachrodt Jeep v. Chrysler Group, LLC, Rockford, IL,
 2010.
 Provided hearing testimony.

 Cape County Auto Park I, Inc. v. Chrysler Group, LLC, Cape Girardeau, MO, 2010.
 Provided hearing testimony.

 Fury Dodge, LLC v. Chrysler Group, LLC, Lake Elmo, MN, 2010.
 Provided hearing testimony.

 Midtown Motors, Inc., d/b/a John Howard Motors v. Chrysler Group LLC, Morgantown, WV,
 2010.
 Provided hearing testimony.

 Deur Speet Motors, Inc. v. General Motors, LLC, Fremont, MI, 2010.

 Village Chevrolet-Buick-Oldsmobile, Inc. v. General Motors LLC, Carthage, MO, 2010.

 Arenson & Maas, Cedar Rapids, IA, 2010-.

 Nyemaster, Goode, West, Hansell & O'Brien, PC, Des Moines, IA, 2010

 C. Basil Ford, Inc. v. Ford Motor Company, Buffalo, NY, 2010.

 Leonard, Street & Deinard, Minneapolis, MN, 2010-2015.

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 Dady & Gardner, Minneapolis, MN, 2010.

 Star Houston, Inc., d/b/a Star Motor Cars v. Mercedes-Benz USA, LLC, Houston, TX, 2009 -
 2015.

 Mente Chevrolet Oldsmobile, Inc., F/K/A Mente Chevrolet, Inc. T/A Mente Chevrolet and
 Mente Chrysler Dodge, Inc. and Donald M. Mente v. GMAC, Kutztown, PA, 2009-2011.

 Long-Lewis, Inc. v. Sterling Truck Corporation, Besemer, AL, 2009-2011.

 Gossett Motor Cars, LLC v. Hyundai Motor America and Homer Skelton Auto Sales, LLC,
 Memphis, TN, 2009-2010.

 Star Houston, Inc., d/b/a Star Motor Cars v. Mercedes-Benz USA, LLC, Houston, TX, 2009-.
 In re: CHRYSLER LLC, et al. v. Debtors, Chapter 11, New York, NY, 2009.

 Cooper and Walinski, LPA, 2009.

 Jennings Motor Company, Inc., d/b/a Springfield Toyota v. Toyota Motor Sales USA, Inc.,
 Springfield, VA, 2008-2010.

 General Motors v. Harry Brown’s and (counterclaim) Harry Brown’s and Faribault v. General
 Motors, Faribault, MN, 2008.
 Provided declaration.

 Nick Alexander Imports v. BMW of North America, Beverly Hills, CA, 2008.

 Monroeville Chrysler v. DaimlerChrysler Motors Company, Pittsburgh, PA, 2008.

 Bowser Cadillac, LLC v. General Motors Corporation and Saab Cars USA, Inc., Pittsburgh, PA,
 2008-2009.

 Carlsen Subaru v. Subaru of America, Inc., San Francisco, CA, 2008.
 Provided deposition and hearing testimony.

 Suburban Dodge of Berwyn, Inc., and Lepetomane XXII, Inc., v. DaimlerChrysler Motors
 Company, LLC and DaimlerChrysler Financial Services Americas LLC, Chicago, IL, 2007-
 2008.
 Provided deposition testimony.

 Wiggin & Nourie, P.A., Manchester, NH, 2007-2008.




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 McCall-T LTD., a Texas limited partnership d/b/a Sterling McCall Toyota & Sterling McCall
 Scion, et al. v. Gulf States Toyota, Inc., McCall- T LTD., et al. v. Madison Lee Oden et al.,
 Houston, TX, 2007-2009.

 Volkswagen of America, Inc., and Aristocrat Volkswagen East, Inc. v. Royal Automotive, Inc.,
 d/b/a Royal Volkswagen, Orlando, FL, 2007-.

 Myers & Fuller, P.A., Tallahassee, FL, 2007-2009.

 Ed Schmidt Pontiac-GMC Truck, Inc. v. DaimlerChrysler Motors Company, LLC, Perrysburg,
 OH, 2006-2009.

 Fowler Motors, Inc. v. BMW of North America, LLC, Conway, SC, 2006-2008.

 Serpa Automotive Group, Inc. v. Volkswagen of America, Inc., Visalia, CA, 2006.
 Provided deposition and hearing testimony.

 Serra Chevrolet, Inc. d/b/a Serra Kia v. Kia Motors America, Inc., et al., Birmingham, AL,
 2006-2009.

 Cardenas Enterprises, Inc., d/b/a Cardenas Toyota BMW v. Gulf States Toyota, Inc. and Toyota
 Motor Sales, USA, Inc., Harlingen, TX, 2006.

 North Avenue Auto, Inc., d/b/a Grand Honda v. American Honda Motor Co., Inc. a California
 Corporation, Chicago, IL, 2006-2009.

 Saleen, Inc., Irvine, CA, 2006-2009.

 Golden Ears Chrysler Dodge Jeep, Maple Ridge, BC, 2006-2007.

 Action Nissan, Inc. v. Nissan North America, Inc., Nyack, NY, 2005-2007.

 Harbor Truck Sales and Services, Inc. d/b/a Baltimore Freightliner v. DaimlerChrysler Motors
 Company, LLC, Baltimore, MD, 2005-2007.
 PH Automotive Holding Corporation, d/b/a Pacific Honda, Cush Automotive Group, d/b/a Cush
 Honda San Diego, Tipton Enterprises, Inc., d/b/a Tipton Honda, Ball Automotive Group, d/b/a
 Ball Honda v. American Honda Motor Co., Inc., San Diego, CA, 2005-2007.
 Rusing & Lopez, Tucson, AZ, 2005.

 Sonic Automotive, Inc. v. Rene R. Isip, Jr.; RRIJR Auto Group, Ltd., d/b/a Rene Isip Toyota of
 Lewisville, and John Eagle, Lewisville, TX, 2005.

 Competitive Engineering, Inc. v. Honeywell International, Inc., Tucson, AZ, 2005.


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 Century Motors Corporation v. DaimlerChrysler Motors Company, LLC., St. Louis, MO, 2005.

 Lone Star Truck Group, Albuquerque, NM, 2005-2006.

 Thomas Bus Gulf Coast, Inc., Houston, TX, 2005.

 Stoops Freightliner, Indianapolis, IN, 2005-2006.

 Cameron, Worley, Forham, P.C., Nashville, TN, 2004-2005.

 Transteck, Inc. d/b/a Freightliner of Harrisburg v. DaimlerChrysler Vans, LLC, Harrisburg, PA,
 2004.

 Around The Clock Freightliner Group, Inc., Oklahoma City, OK, 2004-2006.

 Alamo Freightliner, San Antonio, TX, 2004-2005.

 GKG Motors, Inc. d/b/a Suzuki of San Antonio v. Cantwell Fielder, Ltd. d/b/a Quality Suzuki and
 American Suzuki Motor Corporation, San Antonio, TX, 2004-2007.

 Maple Shade Motor Corporation v. Kia Motors America, Inc., Turnersville, NJ, 2004-2006.

 Star Houston, Inc. d/b/a Star Motor Cars, Inc. v. Mercedes-Benz-USA, LLC, Austin, TX, 2004-
 2006.

 Perez Investments, Inc. d/b/a Rick Perez Autonet v. DaimlerChrysler Financial, L.L.C. d/b/a
 Chrysler Financial, L.L.C.; DaimlerChrysler Motors Corporation, Austin, TX, 2004.

 Mazda Motors of America v. Maple Shade Motor Corporation, d/b/a Maple Shade Mazda et al.,
 Maple Shade, NJ, 2004.

 Wickstrom Chevrolet-Pontiac-Buick-GMC. v. General Motors Corporation, Chevrolet Division,
 Austin, TX, 2004.

 Sea Coast Chevrolet - Oldsmobile, Inc. Belmar, NJ, 2004.

 Steve Taub, Inc. d/b/a Taub Audi v. Audi Of America, Inc., Santa Monica, CA, 2003.
 Toledo Mack Sales and Service, Inc. v. Mack Truck, Inc., Columbus, OH, 2003.

 Cooper & Elliot, Columbus, OH, 2003.

 Bayshore Ford Truck Sales, Inc., et al. v. Ford Motor Company, New Castle, DE, 2003-2013.



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 Maritime Ventures, LLC; Maritime Motors, Inc. v. City of Norwalk; Norwalk Redevelopment
 Agency, Norwalk, CT, 2003.

 Cox Nuclear Pharmacy, Inc. and Accuscan, LLC v. CTI Molecular Imaging, Inc., Mobile, AL,
 2002-.

 Mazda Motor of America, Inc. v. David J. Phillips Buick-Pontiac, Inc., Orange County, CA,
 2002- 2003.

 Kimnach Ford, Norfolk, VA, 2002-.

 Brown & Brown Chevrolet v. General Motors, Phoenix, AZ, 2002.

 New Country Toyota, Durango, CO, 2002-2003.

 ALCO Cadillac-Pontiac Sales, Inc. v. General Motors Corp. et al, Englewood Cliffs, NJ, 2001-
 2003.

 Al Serra Chevrolet, Inc. v. General Motors Corp., Flint, MI, 2001.

 Bayou Ford Truck Sales, Inc. d/b/a Bayou City Ford-Sterling v. Sterling Truck Corp., Houston,
 TX, 2001-2002.

 Fred Lavery Company et al. v. Nissan North America, Inc., et al., Birmingham, MI, 2000-2002.

 Tamaroff Buick and Sunshine Automotive, Inc. v. American Honda, Detroit, MI, 2000-2006.

 Applegate Chevrolet, Inc. v. General Motors Corporation Flint, MI, 2000-2001.

 Anchorage Chrysler Center, Inc. v. DaimlerChrysler Motors Corporation, Anchorage, AK,
 2000-2003.

 Ford Motor Company v. Pollock Motor Co., Inc. f/k/a Pollock Ford Co., Inc., v. Ford Motor
 Credit, Gadsden, AL, 1999-2001.

 Suzuki Motor Corporation Japan v. Consumers Union of United States, Inc., Orange County,
 CA, 1999.

 Arata Motor Sales v. American Honda Motor Co., et al., Burlingame, CA, 1999.

 Star Motor Cars v. Mercedes-Benz of North America, Inc., Houston, TX, 1999.

 Dispatch Management Services Corp., in Aero Special Delivery, Inc. v. United States of
 America, San Francisco, CA, 1999-2003 (est).

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 Arnold Lincoln Mercury v. Ford Motor Co., Detroit, MI, 1999-2000.

 Landmark Chevrolet Corporation v. General Motors Corporation et al, Houston, TX, 1998-
 2002.

 Ford Dealers of Greater Toronto, Toronto, ONT, Canada 1998-2003.

 Volkswagen of America, Inc., et al. v. Pompano Imports, Inc., d.b.a. Vista Motor Company,
 Pompano Beach, FL, 1998-1999.




 PUBLICATIONS

 Mark M. Leitner, Joseph S. Goode, and Ted Stockton, “Franchise and Dealership Litigation
 Damages” in The Comprehensive Guide to Economic Damages, ed. Nancy Fannon and Jonathan
 Dunnitz, 6th Edition, Business Valuation Resources, 2020.

 Joseph S. Goode, Mark M. Leitner, and Ted Stockton, “Franchise and Dealership Litigation
 Damages” in The Comprehensive Guide to Economic Damages, ed. Jonathan Dunnitz and Nancy
 Fannon, 5th Edition, Business Valuation Resources, 2018.

 "Understanding Sales Performance Measurements: How Average Became the New Minimum,”
 Dealer Law Review, Issue 14.3, Winter 2014, pp. 1-2.

 White Paper: Customer Satisfaction Measurement, co-authored with Dr. Ernest H. Manuel, Jr.,
 2012.

 White Paper: Generalized Retail Sales Effectiveness [restricted distribution], co-authored with
 Dr. Ernest H. Manuel, Jr., 2012.

 Time Inspection Study Report of the Brotherhood of Maintenance of Way Employee Division/IBT
 (BMWED), Submitted to The Committee on Transportation and Infrastructure of the House of
 Representatives and The Committee on Commerce, Science, and Transportation of the Senate,
 2011.

 White Paper: Customer Satisfaction, co-authored with Dr. Ernest H. Manuel, Jr., 2010.

 White Paper: Sales Effectiveness (RSI and MSR): Flaws in Manufacturers’ Measurement of
 Dealers’ Sales Performance, co-authored with Dr. Ernest H. Manuel, Jr., 2010.




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 OTHER

 Developments in Sales Metrics, presentation to AutoCPA Group, Sun Valley, Idaho, October 1,
 2018.

 Conditional Margin, Tiered Margins, Market Stratification, and Project Pinnacle, presentation
 to National Association of Dealer Counsel, with Harry Zanville, April 25, 2017.

 Business Cycles and Fraud, presentation to AutoCPA Group, September 23, 2016.

 Trends in Franchise Economics and a Theory of Dealer Investment, presented to CPA group,
 Oklahoma City, OK, 2014.

 “sales expectations vs Sales Expectations,” presentation to AutoCPA Group, 2013.

 Testimony before the Texas House of Representatives on behalf of the Texas Automobile
 Dealers Association regarding public policy issue related to franchise law, April 9, 2013.

 "Navigating the Post-Slump Environment," presentation to Chief Financial Officers Group, Palm
 Springs, CA, April 2012.

 “How Dealers Can Protect Themselves” presentation to AutoCPA Group, 2011.

 Minnesota Auto Dealers, issues related to General Motors and Chrysler bankruptcies and dealer
 arbitrations, 2010.

 Arizona Electric Power Cooperative, hourly load forecasting using econometric estimation,
 2006.




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                    Cases in which Mr. Stockton gave deposition, hearing
                        or trial testimony during the past four years


 Kpauto, LLC, dba Putnam Ford of San Mateo v. Ford Motor Company, (The State of California
 New Motor vehicle Board)
 Provided hearing testimony 9/2023.

 Aaron Gant, et al. v. Ford Motor Company, (United States District Court Eastern District of
 Michigan Southern Division)
 Provided deposition testimony 8/2023.

 Ranbir Gujral and Danielle Emerson, on behalf of themselves and the Putative Class, v. BMW
 Of North America, LLC, and Bayerische Motoren Werke Aktiengesellschaft, (United States
 District Court For The District of New Jersey)
 Provided deposition testimony 8/2023.

 Cowin Equipment Company, Inc., v. CNH Industrial America LLC and Scott Moore, (In the
 Circuit Court For Jefferson County, Alabama)
 Provided deposition testimony 7/2023.

  Hyundai Subaru of Nashville, Inc. d/b/a Downtown Hyundai v. Hyundai Motor America, Inc.,
 (Before the Tennessee Motor Vehicle Commission)
 Provided hearing testimony 7/2023.

 Rusnak/Pasadena, a California Corporation v. Jaguar Land Rover North America, LLC, (United
 States District Court Central District of California)
 Provided deposition testimony 5/2023.

 Action Nissan, Inc. d/b/a Universal Hyundai for Itself and in the Name of the Department of
 Highway Safety and Motor Vehicle of the State of Florida, for its Use and Benefit v. Hyundai
 Motor America and Genesis Motor America, LLC,(United States District Court Middle District
 of Florida Orlando Division)
 Provided deposition testimony 4/2023.

 Al Piemonte Ford, Inc., et al. v. Ford Motor Company, (State of Illinois Motor Vehicle Review
 Board)
 Provided deposition testimony 4/2023 and hearing testimony 7/2023.

 Yandery Sanchez, Louise Knudson, Andrea Reiher-Odom, Derrick Smith, Amber Witt, and Mark
 Treston, on behalf of themselves and all others similarly situated, v. Kia Motors America, Inc.,
 (United States District Court Central District of California)
 Provided deposition testimony 3/2023.




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 Larson Motors, Inc v. General Motors LLC, et al. (United States District Court Western District
 of Washington at Seattle)
 Provided deposition testimony 2/2023.

 Estate of William D. Pilgrim, et al., on behalf of themselves and all others similarly situated v.
 General Motors, LLC, (United States District Court Eastern District of Michigan)
 Provided deposition testimony 2/2023.

 Hyundai Motor America Corporation v. EFN West Palm Motor Sales, LLC
 (Defendant/Counterclaim Plaintiff/Third-Party Plaintiff ) Gene Khaytin; Ernesto Revuelta;
 Edward W. Napleton; Geovanny Pelayo, Jorge Ruiz (Defendants), EFN West Palm Motor Sales,
 LLC; For Itself and in the Name of the Department of Highway Safety and Motor
 Vehicles of the State of Florida, for its Use and Benefit (Counterclaim-Plaintiff/Third-Party
 Plaintiff) v. Hyundai Motor America Corporation (Counterclaim-defendant) And Hyundai Motor
 Company (Third-party Defendant) (United States District Court for the Southern District of
 Florida West Palm Beach Division)
 Provided deposition testimony 10/2022 and trial testimony 1/2023.

 Sloan/Siqueiros, et al. v. General Motors LLC, (United States District Court Northern District of
 California San Francisco Division)
 Provided deposition testimony 10/2019 and trial testimony 9/2022.

 EFN West Palm Motor Sales, LLC d/b/a Napleton’s West Palm Beach Hyundai, North Palm
 Hyundai, LLC d/b/a Napleton’s North Palm Hyundai, and the Florida Department of Highway
 Safety and Motor Vehicles v. Hyundai Motor America Corporation, (United States District Court
 for the Southern District of Florida West Palm Beach Division)
 Provided deposition testimony 8/2022.

 Spitzer Autoworld Akron, LLC, v. Fred Martin Motor Company, (Court of Common Pleas,
 Summit County, OH)
 Provided deposition testimony 7/2022 and trial testimony 8/2022.

 Vivian Arevalo and Micah Simon v. USAA Casualty Insurance Company and Garrison Property
 & Casualty Insurance Company, (District Court of Bexar County, TX)
 Provided deposition testimony 6/2022.

 Jason Nuwer, Mark Minkowitz, Amarillis Gineris, Christina Vigoa, and Kevin Van Allen v. FCA
 US LLC f/k/a Chrysler Group LLC, (United States District Court, Southern District of Florida)
 Provided deposition testimony 5/2022.

 Chapman, et al, v. General Motors, LLC., (United States District Court for the Eastern District of
 Michigan)
 Provided deposition testimony. 4/2022.


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 James Bledsoe, et al, v. FCA US LLC, and Cummins Inc., (United States District Court for the
 Eastern District of Michigan)
 Provided deposition testimony 1/2022.

 In Re: Duramax Diesel Litigation, Relating to: Nancy Anderton, et al., v. General Motors LLC,
 et al., (United States District Court for the Eastern District of Michigan)
 Provided deposition testimony 1/2022.

 Fox Hills Auto, Inc. D/b/a Airport Marina Ford v. Ford Motor Company, Central Ford
 Automotive, Inc., dba Central Ford v. Ford Motor Company and Los Feliz Ford, Inc., dba Star
 Ford Lincoln v. Ford Motor Company, (State of California New Motor Vehicle Board)
 Provided deposition testimony 12/2021.

 West Palm Beach Acquisitions, Inc. d/b/a Greenway Kia West Palm Beach and Florida
 Department of Highway Safety & Motor Vehicles, v. Kia Motors America, Inc., (United States
 District Court Southern District of Florida West Palm Beach Division)
 Provided deposition testimony 12/2021.

 Kenneth John Williams and Another Applicants v. Toyota Motor Corporation Australia Limited,
 (Federal Court of Australia District Registry: New South Wales Division: General)
 Provided trial testimony 12/2021.

 Gabriel Patlan, Ryan Cornell, and La Della Levy, on behalf of themselves and all others
 similarly situated v. BMW of North America LLC; Wendy Vazquez, on behalf of herself and all
 individuals similarly situated v. BMW of North America, LLC; Vikkie Wilkinson, on Behalf of
 Herself and the Putative Class, v. BMW of North America, LLC and Bayersiche Motoren Werke
 Aktiengesellschaft, (United States District Court for the District of New Jersey)
 Provided deposition testimony 11/2021.

 Peterson Motorcars, LLC et al v. BMW of North America, LLC, (United States District Court
 Western District of Kentucky Louisville Division)
 Provided deposition testimony 9/2021.

 James Bledsoe, Paul Chouffet, Martin Rivas, Jeremy Perdue, Michael Erben, Martin Witberg,
 Marty Ward, Alan Strange, James Forshaw, Matt Langworthy, Natalie Beight, Jordan Hougo,
 Dawn Roberts, and Marc Ganz, on Behalf of Themselves and All Others Similarly Situated,
 v FCA US LLC, a Delaware Corporation, and Cummins Inc., an Indiana Corporation, (U.S.
 District Court for the Eastern District of Michigan )
 Provided deposition testimony 9/2021.

 Ricardo R. Garcia, et al. v. Volkswagen Group of America, Inc., et al., (United States District
 Court for the Eastern District of Virginia Alexandria Division)
 Provided deposition testimony 9/2021.


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 Paul Weidman, et al., v Ford Motor Company, (U. S. District Court Eastern District of Michigan
 Southern Division)
 Provided deposition testimony 5/2021.

 Milind Desai v. Geico Casualty Company, (U.S. District Court Northern District of Ohio Eastern
 Division)
 Provided deposition testimony 5/2021.

 Eric Stevens, Christopher L. Rodriguez, Michael S. Frakes, Terry Pennell, Ray Moore, Kent
 Larry Bakken, Lynn E. Kirkpatrick, and Michael E. Stone v. Ford Motor Company. (United
 States District Court Southern District of Texas, Corpus Christi Division)
 Provided deposition testimony 4/2021.

 In the matter of Luxury Cars of Bayside, Inc., v. BMW of North America, LLC (State of New
 York Department of Motor Vehicles Safety and Business Hearing Bureau)
 Provided hearing testimony 4/2021.

 Clarence Simmons, Franklin Navas, Jorge Arroyave, Joseph Dabbs, Jennifer DeWitt, Anne
 Erdman, Mark James, Shand Jackson, Mike Tierney, Mark Van Bus Kirk, John Buczynski, Ilja
 Lopatik, Brian Yarborough, William MacSaveny, Ryan Marshall, Allyson Rogers, Peter Tulenko,
 and Greg Licktenberg, on behalf of themselves and all others similarly situated v. Ford Motor
 Company (United States District Court Southern District of Florida)
 Provided deposition testimony 3/2021.

 Kimberley Carter and Keith Halliday v. Ford Motor Company of Canada, Ltd., Ford Credit
 Canada Limited and Ford Motor Company (Ontario Superior Court Justice)
 Provided cross-examination testimony 3/2021.

 Braman Motors, Inc., d/b/a Braman BMW, for Itself and in the Name of the Department of
 Highway Safety and Motor Vehicles of the State of Florida, for its Use and Benefit, and
 Palm Beach Imports, Inc., d/b/a Braman Motorcars, for Itself and in the Name of the Department
 of Highway Safety and Motor Vehicles of The State of Florida, for its Use and Benefit, and The
 Department of Highway Safety and Motor Vehicles of the State of Florida, for the Use and
 Benefit of Braman Motors, Inc. and Palm Beach Imports, Inc. v. BMW of North America, LLC.
 (United States District Court Southern District of Florida Miami Division)
 Provided deposition testimony 2/2021.

 Gina Signor, Individually and on Behalf of All Those Similarly Situated v. Safeco Insurance
 Company of Illinois, (U.S. District Court, Southern District of Florida, Fort Lauderdale Division)
 Provided deposition testimony 11/2020 and 1/2021.




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 Between Barry Rebuck and Ford Motor Company and Ford Motor Company of Canada, Limited
 and Yonge-Steeles Ford Lincoln Sales Limited Proceeding under the Class Proceedings Act,
 1992, (Ontario Superior Court of Justice)
 Provided cross-examination testimony 10/2020.

 In Re: Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation
 Nemet v. Volkswagen Group of America, Inc., (U.S. District Court, Northern District of
 California)
 Provided deposition testimony 8/2020.

 William South, Individually and on Behalf of All Those Similarly Situated v. Progressive Select
 Insurance Company, (United States District Court Southern District of Florida Tampa Division)
 Provided deposition testimony 7/2020.

 Biljana Capic v. Ford Motor Company of Australia Limited (Federal Court of Australia, New
 South Wales)
 Provided trial testimony 7/2020.

 Jason Counts, Donald Klein, Oscar Zamora, Derek Long, Bassam Hirmiz, Jason Silveus, John
 Miskelly, Thomas Hayduk, Christopher Hemberger, Individually And on Behalf of All Others
 Similarly Situated, v. General Motors, LLC, Robert Bosch GMBH, and Robert Bosch, LLC,
 (United States District Court Eastern District of Michigan)
 Provided deposition testimony 2/2020

 Barber Group, Inc., d/b/a Barber Honda v. American Honda Motor Co., Inc., Galpinsfield
 Automotive, LLC, Intervenor. (State of California New Motor Vehicle Board)
 Provided deposition testimony 1/2019. Provided hearing testimony 12/2019 and 1/2020.

 Continental Imports Inc. d/b/a Mercedes Benz of Austin v Swickard Austin, LLC d/b/a
 Mercedes Benz of South Austin (Before the Texas State Office of Administrative Hearings)
 Provided deposition testimony 9/2019 and hearing testimony 11/2019

 Alfredo’s Foreign Cars, Inc., d/b/a Larchmont Chrysler Jeep Dodge v. FCA US LLC, (State of
 New York Department of Motor Vehicles Safety and Business Hearing Bureau)
 Provided hearing testimony 10/2019.

 George Tershakovec, et al. v Ford Motor Company, (United States District Court Southern
 District of Florida)
 Provided deposition testimony 9/2019.

 Vista Ford Oxnard, LLC., d/b/a Vista Ford Lincoln of Oxnard v. Ford Motor Company and Ford
 of Ventura, Inc., d/b/a Ford of Ventura, Intervenor, (State of California New Motor Vehicle
 Board)
 Provided deposition testimony 8/2019 and hearing testimony 9/2019.

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    Probability-Adjusted Retail Replacement Costs for Insured Assuming Total Loss
                                 Select Class Vehicles




                                                                                                                                Amount
                                                                                                                                Received
                                                     Vehicle at Given Percentile*                                               if Cap =
                 Model                                                                                           Replacement     60% of
Percentile*      Year               Make              Model             Body                                        Costs          ATI
     10          2012               Hyundai           Sonata            Sedan 4D Limited 2.4L I4                    $1,430         $1,430
     20          2013               Kia               Sorento           Utility 4D EX AWD 2.4L I4                   $1,726         $1,726
     25          2013               Kia               Sportage          Utility 4D SX AWD 2.0L I4 Turbo             $1,807         $1,807
     30          2015               Hyundai           Tucson            Utility 4D GLS AWD 2.0L I4                  $1,981         $1,981
 33 & 1/3        2015               Kia               Sedona            Extended Passenger Van SX 3.3L V6           $2,059         $2,059
     40          2015               Hyundai           Santa Fe          Utility 4D Sport 2.0L I4 Turbo              $2,146         $2,146
     50          2019               Kia               Forte             Sedan 4D EX 2.0L I4                         $2,435         $2,435
     60          2018               Kia               Sedona            Extended Passenger Van L 3.3L V6            $2,620         $2,620
     70          2020               Hyundai           Kona              Utility 4D SEL Plus 2.0L I4                 $2,785         $2,785
     80          2019               Kia               Sedona            Extended Passenger Van LX 3.3L V6           $3,151         $3,151
     90          2022               Hyundai           Kona              Utility 4D N 2.0L I4 Turbo                  $3,473         $3,473
    100          2021               Hyundai           Palisade          Utility 4D Calligraphy AWD 3.8L V6          $4,913         $4,913



            * Percentiles using Average Trade-In values.




       SOURCE: The Fontana Group, Inc.
          DATA: JD Power Internet Site, 8/2023.
                Tentative Order Regarding Motion for Preliminary Settlement Approval and Class Certification.
                Tax Foundation Facts & Figures Data Files, 2023.
                Edmunds Internet Site, 5/30/2023.
                S&P Global Mobility Vehicles in Operation Data File, 7/1/2023.
                S&P Global Mobility Used Statewide Dealer Registration Data File, 2021 - 2022 (6/2023 Update).
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               Probability-Adjusted Retail Replacement Costs for Uninsured
              Assuming Total Loss and Assuming Owner Got the Vehicle Back
                  Select Class Vehicles with Average Trade-In < $10,000




                                                                                                                                Amount
                                                                                                                                Received
                                                     Vehicle at Given Percentile*                                               if Cap =
                 Model                                                                                           Replacement     60% of
Percentile*      Year               Make              Model             Body                                        Costs          ATI
    10           2012               Hyundai           Sonata            Sedan 4D Limited 2.4L I4                    $8,419         $3,653
    20           2013               Kia               Sorento           Utility 4D EX AWD 2.4L I4                  $11,446         $5,205
   24.37         2014               Kia               Sorento           Utility 4D LX AWD 3.3L V6                  $12,436         $5,993




            * Percentiles using Average Trade-In values.
        Note: The 2014 Kia Sorento has an Average Trade-In value of $9,988.




       SOURCE: The Fontana Group, Inc.
          DATA: JD Power Internet Site, 8/2023.
                Tentative Order Regarding Motion for Preliminary Settlement Approval and Class Certification.
                Tax Foundation Facts & Figures Data Files, 2023.
                Edmunds Internet Site, 5/30/2023.
                S&P Global Mobility Vehicles in Operation Data File, 7/1/2023.
                S&P Global Mobility Used Statewide Dealer Registration Data File, 2021 - 2022 (6/2023 Update).
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          Probability-Adjusted Retail Replacement Costs for Uninsured
      Assuming Total Loss and Assuming Owner Did Not Get the Vehicle Back
              Select Class Vehicles with Average Trade-In < $10,000




                                                                                                                                Amount
                                                                                                                                Received
                                                     Vehicle at Given Percentile*                                               if Cap =
                 Model                                                                                           Replacement     60% of
Percentile*      Year               Make              Model             Body                                        Costs          ATI
    10           2012               Hyundai           Sonata            Sedan 4D Limited 2.4L I4                   $10,055         $3,653
    20           2013               Kia               Sorento           Utility 4D EX AWD 2.4L I4                  $13,776         $5,205
   24.37         2014               Kia               Sorento           Utility 4D LX AWD 3.3L V6                  $15,119         $5,993




            * Percentiles using Average Trade-In values.
        Note: The 2014 Kia Sorento has an Average Trade-In value of $9,988.




       SOURCE: The Fontana Group, Inc.
          DATA: JD Power Internet Site, 8/2023.
                Tentative Order Regarding Motion for Preliminary Settlement Approval and Class Certification.
                Tax Foundation Facts & Figures Data Files, 2023.
                Edmunds Internet Site, 5/30/2023.
                S&P Global Mobility Vehicles in Operation Data File, 7/1/2023.
                S&P Global Mobility Used Statewide Dealer Registration Data File, 2021 - 2022 (6/2023 Update).
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                         Out-of-Pocket Costs for Insured Assuming Partial Loss
                                         Select Class Vehicles



                                                                                                                                Amount
                                                                                                                                Received
                                                                                                                                if Cap =
                                                     Vehicle at Given Percentile*                               Out-of-          Max of
                  Model                                                                                         Pocket        33% of ATI
Percentile*       Year              Make              Model             Body                                     Costs         and $3,375
     10           2012              Hyundai           Sonata            Sedan 4D Limited 2.4L I4                  $500              $500
     20           2013              Kia               Sorento           Utility 4D EX AWD 2.4L I4                 $500              $500
     25           2013              Kia               Sportage          Utility 4D SX AWD 2.0L I4 Turbo           $500              $500
     30           2015              Hyundai           Tucson            Utility 4D GLS AWD 2.0L I4                $500              $500
 33 & 1/3         2015              Kia               Sedona            Extended Passenger Van SX 3.3L V6         $500              $500
     40           2015              Hyundai           Santa Fe          Utility 4D Sport 2.0L I4 Turbo            $500              $500
     50           2019              Kia               Forte             Sedan 4D EX 2.0L I4                       $500              $500
     60           2018              Kia               Sedona            Extended Passenger Van L 3.3L V6          $500              $500
     70           2020              Hyundai           Kona              Utility 4D SEL Plus 2.0L I4               $500              $500
     80           2019              Kia               Sedona            Extended Passenger Van LX 3.3L V6         $500              $500
     90           2022              Hyundai           Kona              Utility 4D N 2.0L I4 Turbo                $500              $500
    100           2021              Hyundai           Palisade          Utility 4D Calligraphy AWD 3.8L V6        $500              $500



            * Percentiles using Average Trade-In values.




       SOURCE: The Fontana Group, Inc.
          DATA: JD Power Internet Site, 8/2023.
                Tentative Order Regarding Motion for Preliminary Settlement Approval and Class Certification.
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                                                                                                                          Tab 5 Page 1
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              Out-of-Pocket Repair Costs for Uninsured Assuming Partial Loss
                                   Select Class Vehicles



                                                                                                                                Amount
                                                                                                                                Received
                                                                                                                                if Cap =
                                                     Vehicle at Given Percentile*                                                Max of
                  Model                                                                                         Repair        33% of ATI
Percentile*       Year              Make              Model             Body                                    Costs          and $3,375
     10           2012              Hyundai           Sonata            Sedan 4D Limited 2.4L I4                 $5,010            $3,375
     20           2013              Kia               Sorento           Utility 4D EX AWD 2.4L I4                $5,010            $3,375
     25           2013              Kia               Sportage          Utility 4D SX AWD 2.0L I4 Turbo          $5,010            $3,375
     30           2015              Hyundai           Tucson            Utility 4D GLS AWD 2.0L I4               $5,010            $3,861
 33 & 1/3         2015              Kia               Sedona            Extended Passenger Van SX 3.3L V6        $5,010            $4,142
     40           2015              Hyundai           Santa Fe          Utility 4D Sport 2.0L I4 Turbo           $5,010            $4,736
     50           2019              Kia               Forte             Sedan 4D EX 2.0L I4                      $5,010            $5,010
     60           2018              Kia               Sedona            Extended Passenger Van L 3.3L V6         $5,010            $5,010
     70           2020              Hyundai           Kona              Utility 4D SEL Plus 2.0L I4              $5,010            $5,010
     80           2019              Kia               Sedona            Extended Passenger Van LX 3.3L V6        $5,010            $5,010
     90           2022              Hyundai           Kona              Utility 4D N 2.0L I4 Turbo               $5,010            $5,010
    100           2021              Hyundai           Palisade          Utility 4D Calligraphy AWD 3.8L V6       $5,010            $5,010



            * Percentiles using Average Trade-In values.




       SOURCE: The Fontana Group, Inc.
          DATA: JD Power Internet Site, 8/2023.
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